       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 1 of 71




           In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
KASEY COTTINGHAM,        *
                         *                         No. 15-1291V
             Petitioner, *                         Special Master Christian J. Moran
                         *
    v.                   *
                         *                         Filed: January 7, 2021
SECRETARY OF HEALTH      *
AND HUMAN SERVICES,      *                         attorneys’ fees and costs, reasonable
                         *                         basis, remand, product insert
             Respondent. *
*********************

Andrew D. Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner;
Voris Johnson, United States Dep’t of Justice, Washington, DC, for respondent.

  PUBLISHED DECISION DENYING ATTORNEYS’ FEES AND COSTS1

      An October 30, 2015 petition alleged that the human papillomavirus
(“HPV”) vaccine harmed Kasey Cottingham and sought relief pursuant to the
National Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10 through 34 (2012).
However, the case was dismissed within a year of its filing. Cottingham v. Sec’y
of Health & Human Servs., No. 15-1291V, 2016 WL 6575170 (Fed. Cl. Spec.
Mstr. Oct. 13, 2016).

      Although Ms. Cottingham did not receive compensation, she is requesting
an award of attorneys’ fees and costs as permitted by the Vaccine Act. 42 U.S.C.
§ 300aa–15(e). After three rounds of adjudications in both the Office of Special


       1
          The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 2 of 71




Masters and the Court of Federal Claims, the Federal Circuit remanded the case for
an additional review of evidence that might support a finding of reasonable basis.
Because she has failed to meet this predicate showing, Ms. Cottingham is not
eligible for an award of attorneys’ fees and costs. Therefore, her motion is denied.

I.    Background

       The foundation for this decision is Ms. Cottingham’s medical history. The
series of events about her health is set out in section A, below. The history of her
claim through the Decision Dismissing Case is discussed in section B, below. The
lengthy history of decisions and appellate opinions regarding the still pending
motion for attorneys’ fees and costs is presented in section C, below.

      A.     Medical Chronology

      Ms. Cottingham was born in 1998. Her health through 2011 was relatively
routine and overall good.

        In March 2012, a doctor at the Middle Creek Urgent Care facility diagnosed
Ms. Cottingham with mononucleosis. A week later, Ms. Cottingham’s regular
pediatrician saw her. Ms. Cottingham stated that her throat was hurting, she felt
tired, and she had headaches. The doctor diagnosed her as having a viral illness on
top of the mononucleosis. Exhibit 3 at 55-56.

       Before starting high school, Ms. Cottingham returned to the pediatrician’s
office. The doctor did not record any significant health concerns. During this
appointment, which occurred on July 5, 2012, Ms. Cottingham received three
vaccinations – the hepatitis A vaccine, the meningococcal conjugate vaccine, and
the HPV vaccine. More specifically, Ms. Cottingham received the “quadrivalent”
HPV vaccine. Exhibit 3 at 99-100. Ms. Cottingham’s claim in the Vaccine
Program rested upon the HPV vaccine.

       Approximately one month later, while performing as a majorette in her
school’s band, Ms. Cottingham twisted her right knee. The pediatrician recorded
that except for the problem with her right knee, a review of symptoms was
“negative.” Exhibit 3 at 64. For the knee injury, Ms. Cottingham went to physical
therapy. Exhibit 5.

      On October 10, 2012, Ms. Cottingham went to the Children’s Hospital of
Alabama where she saw a pediatric gynecologist. The history of present illness
from this visit states:
                                         2
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 3 of 71




             She has periods that are monthly. Sometimes there are 2
             weeks in between and sometimes they are a full month in
             between. When they do occur she does have to wear
             double protection on her for a few days because of the
             menorrhagia. Her periods last for about 2 days and they
             are off for about 2 days and they come back for about 4-5
             days.

Exhibit 9 at 4. Except as noted in the history of present illness, the doctor’s review
of symptoms was “negative times 10.” Id. The gynecologist prescribed oral
contraception to control Ms. Cottingham’s monthly cycle.

       According to an affidavit Ms. Cottingham signed for this litigation, her
health changed on November 1, 2012 (almost four months after her receipt of the
HPV vaccination). Ms. Cottingham stated: “I began getting regular weekly
headaches. Over the next few weeks, not only did the frequency of headaches
increase but I also began to experience episodes of near black-outs where my
vision became temporarily impaired.” Exhibit 1 ¶ 5. Ms. Cottingham’s attorney
asserted that November 1, 2012, marked the onset of the problems the HPV
vaccine allegedly caused in Ms. Cottingham. Pet’r’s Mot. for Attorneys’ Fees and
Costs, filed Oct. 26, 2016, at 5.

       On November 30, 2012, Ms. Cottingham returned to her pediatrician’s
office. She complained about having a fever, yellow mucous, a sore throat in the
mornings, and headaches “off and [on] all week.” The doctor diagnosed her as
having “acute sinusitis.” Exhibit 3 at 87-88. Ms. Cottingham’s affidavit stated
that during the November 30, 2012 appointment, she told her doctor about her
“symptoms” without specifying what those symptoms were. The affidavit also
recounts that the doctor prescribed an antibiotic and recommended that she drink
plenty of water. Exhibit 1 ¶ 6. The doctor’s November 30, 2012 note did not
characterize the headaches as ongoing or chronic.

       According to Ms. Cottingham’s affidavit, her “headaches, low-grade fevers
and near black-outs continued.” In addition, during practices for majorettes, Ms.
Cottingham “need[ed] to stop because [she] was feeling dizzy.” Nevertheless, Ms.
Cottingham “didn’t want to complain because [she] was taught to tough out what
[she] thought was a temporary condition.” Id. ¶¶ 7-8.

      Approximately two months later, Ms. Cottingham had another appointment
with her pediatrician. The history of present illness states that Ms. Cottingham
                                             3
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 4 of 71




             comes in today with 2 days of runny nose and
             congestion. Today she’s had low-grade fever of 100.4,
             she has also had [a] sore throat along with runny nose
             and congestion. Has had a headache today as well. No
             cough, increased work of breathing or shortness of
             breath. No vomiting or diarrhea.

Exhibit 3 at 78 (record created Jan. 31, 2013). The doctor’s assessment was
“rhinitis” and “acute viral pharyngitis.” Id. at 79. This record, however, does not
indicate that Ms. Cottingham was experiencing near black-outs or low-grade
fevers. The doctor also did not memorialize that Ms. Cottingham has having
headaches frequently after November 1, 2012. Ms. Cottingham’s affidavit does
not question the accuracy of this medical record. See exhibit 1 ¶ 9.

       On March 29, 2013, Ms. Cottingham “fainted upon getting up this
morning.” Exhibit 3 at 80. She also had a “fever and dizziness,” and “[v]omited
once.” Id. The doctor’s assessment was “gastroenteritis” and “dehydration.” Id. at
81. The doctor believed that Ms. Cottingham was “at the early stage of an
intestinal virus.” Id. at 80-81. March 29, 2013 is 267 days (nearly 9 months) after
July 5, 2012, the date of the first HPV vaccination.

       Ms. Cottingham fainted again on May 23, 2013, while at a pool. The history
of present illness from her treatment after this incident states that after waking up
that morning, Ms. Cottingham did not have anything to eat or drink. When at the
pool with a friend, Ms. Cottingham felt “very hot” and “hungry” “so she stood up
quickly to go get something to eat. She says at that point her vision became black
and she felt very light headed. Soon after she fell backwards.” Exhibit 3 at 70.
The doctor thought that Ms. Cottingham “was dehydrated prior to this event. [She]
also [thought] laying out in the sun may have contributed.” Id. at 71. The doctor
recommended that Ms. Cottingham increase her intake of fluids. Id.

       On July 10, 2013, Ms. Cottingham had an appointment with her pediatrician
(Dr. Simpson) for two reasons. The visit was, in part, for Ms. Cottingham’s 15-
year-old checkup. Ms. Cottingham’s mother also raised a concern about the two
episodes of fainting and asked about an echocardiogram. Exhibit 3 at 96. Ms.
Cottingham stated that she was having monthly menses. Id. Dr. Simpson
confirmed that Ms. Cottingham should eat breakfast and should drink fluids
throughout the day. Id. at 97. He also referred Ms. Cottingham to a cardiologist.
Id. The only mention of vaccines in the note from July 10, 2013 is under

                                             4
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 5 of 71




“Counseling / Education,” a statement that “Anticipatory guidance given and
immunizations reviewed.” Id.

       On July 25, 2013, Ms. Cottingham visited the pediatric cardiology clinic of
the University of Alabama-Birmingham. The history of present illness recounts
the two incidents of fainting from March and May. In addition, it stated that Ms.
Cottingham “has had other episodes of dizziness and near passing out. With all the
episodes, she is standing or walking. She does not participate in any competitive
athletics. She does participate as a majorette. She has not had any dizziness or
syncope with physical activity.” Exhibit 3 at 111. She further reported that “one
time her episode improved when she sat down.” Id. The doctor conducted various
tests and determined that she had a “structurally and functionally normal heart.
This syncope/presyncope is consistent with a vasovagal etiology.” Id. at 112. The
doctor “emphasized aggressive fluid hydration.” Id. The cardiologist diagnosed
Ms. Cottingham with vasovagal syncope. Id. The cardiologist did not refer her for
autonomic testing.

       Following the July 25, 2013 visit with the pediatric cardiologist, nearly eight
months passed before the next medical record. On March 14, 2014, Ms.
Cottingham went to the office of her pediatrician. Her chief complaint was listed
as “cough, congestion, [sore throat], low-grade fever.” Exhibit 3 at 106. The
doctor’s assessment was “cough,” “acute viral pharyngitis,” and “acute upper
respiratory infection.” Id.

      Ms. Cottingham again saw a pediatrician for a checkup on August 18, 2014.
The history of present illness states: “Been doing well. No concerns.” Exhibit 3 at
109. The office notes also indicate that the date of Ms. Cottingham’s last
menstruation was July 25, 2014. They also say that an oral contraceptive was
discontinued, although the date of discontinuance was not given. At this
appointment, Ms. Cottingham received another dose of the hepatitis A vaccine,
another dose of the meningococcal conjugate vaccine, and another dose of the
HPV vaccine. Id. at 109-10.

      Pursuant to a history given to a gynecologist in April 2015, Ms. Cottingham
took oral contraceptives until October or November 2014 when her prescription
ran out. This same history reports that Ms. Cottingham had a menstrual period in




                                             5
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 6 of 71




December 2014, but none since that month. Exhibit 7 at 7.2 The review of
systems indicated that Ms. Cottingham reported “cold intolerance.” Id. at 8.
During the April 28, 2015 appointment, the gynecologist came to the impression
that Ms. Cottingham was suffering from “secondary amenorrhea.” Id. at 9. The
doctor also indicated that polycystic ovarian syndrome was possible. The doctor
ordered an ultrasound. Id.

       Because of problems scheduling the ultrasound, Ms. Cottingham’s mother
called the office of Ms. Cottingham’s pediatrician on May 14, 2015. Ms.
Cottingham’s mother was “concerned that the Gardasil series may have had
something to do with the recent changes noted in [Ms. Cottingham’s] menstrual
cycle. Mom is requesting that a note be made in [her] chart regarding this
concern.” Exhibit 3 at 175.

       The day after this May 2015 phone call, Ms. Cottingham’s mother retained
the petitioner’s current attorney, Andrew Downing. Pet’r’s Mot., filed Oct. 26,
2016, at 4.3 Within a few days, a paralegal was requesting information from Ms.
Cottingham’s mother to obtain medical records. Timesheets, pages 9-10.

       Ms. Cottingham returned to the pediatric gynecology clinic of the University
of Alabama-Birmingham on July 8, 2015. The doctor recorded that her abnormal
uterine bleeding was now resolved with the use of oral contraceptives. The doctor
continued the prescription. Exhibit 7 at 11-13.

       B.        Procedural History regarding Litigation’s Entitlement Phase

      At the law firm, a paralegal continued the process of requesting and
obtaining medical records throughout the summer of 2015. On October 16, 2015,


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           A duplicate of this record appears as exhibit 10, page 4.
       3
          Until recently, the petitioner was Susan Cottingham, the mother of Kasey Cottingham.
Susan Cottingham initiated the claim on her daughter’s behalf because Kasey was a minor. The
various documents throughout most of this litigation refer to Kasey Cottingham by her initials,
K.C. During this litigation, Kasey Cottingham reached the age of majority and has been made
the petitioner in this action. Order, filed Oct. 26, 2020.
        Whether Susan Cottingham or Kasey Cottingham is the petitioner does not affect the
outcome. For simplicity, this decision views Kasey Cottingham as the petitioner throughout.
However, in some quotations from earlier judicial rulings, the name “K.C.” has been replaced by
“Ms. Cottingham.”

                                                      6
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 7 of 71




Mr. Downing reviewed the medical records received to date. Timesheets at 1.
Shortly thereafter, Mr. Downing and his paralegal began working on a witness
statement and drafting a petition. Timesheets at 1, 6.

        Mr. Downing submitted the petition on October 30, 2015. He maintained in
it that Ms. Cottingham first experienced symptoms of a condition the HPV vaccine
caused on November 1, 2012. Therefore, in Mr. Downing’s view, the 36-month
statute of limitations expired on November 1, 2015. Pet’r’s Mot. for Rev., filed
Apr. 27, 2017, at 5.

       The petition was not very specific. The introductory paragraph alleged that
Ms. Cottingham suffered “a severe adverse reaction.” Paragraph four of the
petition references headaches that began on November 1, 2012. Paragraphs six
and seven refer to episodes of fainting in March and May 2013, respectively.
Paragraph eight recounts that Ms. Cottingham’s mother was concerned about
“autonomic dysfunction.” Paragraph nine asserts that Ms. Cottingham began
having menstrual problems in the latter part of 2013.

      Over the next few months, Mr. Downing’s office obtained more medical
records and filed them. On March 15, 2016, Mr. Downing submitted a statement
of completion, representing that Ms. Cottingham had filed all the medical records
of which she was aware.

      On March 28, 2016, a status conference was held. The Secretary stated that
he was concerned about the reasonable basis for the petition. In response, Mr.
Downing stated that Ms. Cottingham would attempt to retain an expert. See order,
issued Mar. 28, 2016.

      Mr. Downing called one doctor, whom Mr. Downing has retained in other
Vaccine Program cases, Dr. Nemechek. However, Dr. Nemechek did not provide
a favorable opinion. After consulting Ms. Cottingham’s mother, Mr. Downing
consulted a second expert, Dr. Lee. However, Dr. Lee also could not provide a
favorable opinion. See Pet’r’s Mot., filed Oct. 26, 2016, at 6-7.

      On October 6, 2016, Ms. Cottingham filed a motion for a decision. Ms.
Cottingham’s case was dismissed due to a lack of evidence. See Decision
Dismissing Case, 2016 WL 6575170.




                                            7
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 8 of 71




      C.     Procedural History Relating to Petitioner’s
             Motions for Attorneys’ Fees and Costs

             1.    Initial Motion through Special Master’s Initial Adjudications

       Ms. Cottingham filed her first motion for attorneys’ fees and costs on
October 26, 2016. She devoted one section of her accompanying brief to an
argument that reasonable basis supported her petition. Ms. Cottingham primarily
contended that her attorney was required to file her petition before the expiration of
the time set by the statute of limitations. Therefore, the standard for evaluating
reasonable basis should be more lenient. Pet’r’s Mot. for Attorneys’ Fees and
Costs, filed Oct. 26, 2016, at 7. While the thrust of Ms. Cottingham’s argument in
favor of a finding of reasonable basis was the looming statute of limitations, Ms.
Cottingham also mentioned that she was diagnosed with syncope. Id. at 4 (citing
exhibit 3 at 111 (record dated July 25, 2013)). Ms. Cottingham continued:
“Syncope is listed on the Gardasil product monograph as a known potential result
of this vaccination, as well as a frequently reported side effect in the post-
marketing experience.” Id. Although Ms. Cottingham provided an internet link to
the product monograph, she did not file it as an exhibit.

       After this discussion about the requirements to be eligible for attorneys’ fees
and costs, Ms. Cottingham discussed the amount of attorneys’ fees and costs that
would be reasonable. Id. at 8-21. Ms. Cottingham concluded that a reasonable
amount was $10,363.00 in attorneys’ fees and $1,105.77 in costs. Ms. Cottingham
supported her request with timesheets, invoices, and a memorandum approximately
10 pages in length. Ms. Cottingham’s October 26, 2016 motion requested
compensation for Mr. Downing’s work through October 18, 2016, when the
entitlement phase of Ms. Cottingham’s case ended. In other words, the October
26, 2016 motion did not request any fees for preparing the fee application itself.

       The Secretary argued that Ms. Cottingham’s case lacked a reasonable basis.
Resp’t’s Resp., filed Nov. 14, 2016. The Secretary’s analysis was contained in two
parts. First, the Secretary maintained “[t]he record contains no evidence to support
a finding of reasonable basis.” Id. at 4. The Secretary reviewed five pieces of
evidence that Ms. Cottingham had cited in her motion. In this context, the
Secretary filed the product monograph as exhibit A. See id. at 5 n.1. The
Secretary maintained that the product monograph did not support a reasonable
basis because “the relevant period of concern addressed in the document is ‘15
minutes after administration.’” Id. at 8 (citing exhibit A). In contrast, Ms.
Cottingham’s episodes of syncope occurred eight and ten months after vaccination
                                               8
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 9 of 71




and the doctors who treated her associated those syncopal episodes with
dehydration.

       The Secretary’s second point against a finding of reasonable basis concerned
the statute of limitations. To the Secretary, the pendency of the statute of
limitations did not affect the analysis of reasonable basis. Id. at 11-13.

        Ms. Cottingham submitted a reply, reinforcing and repeating her arguments
regarding reasonable basis. Pet’r’s Reply, filed Nov. 28, 2016. Ms. Cottingham
added that an attorney’s leaving a potential petitioner with only a short time either
to find a new attorney to represent her or to file a case pro se would be tantamount
to an ethical violation. Id. at 4 (citing Simmons v. Secʼy of Health & Human
Servs., No. 13-825V, 2016 WL 59378528, at *3 (Fed. Cl. Spec. Mstr. Apr. 14,
2016)). Ms. Cottingham also replied to the Secretary’s discussion of the evidence.
Id. at 4-8. To Ms. Cottingham, the Secretary was “comingling the analyses for
entitlement and reasonable basis.” Id. at 4. Ms. Cottingham asserted that an article
by S. Blitshteyn supported a claim that the HPV vaccination can cause syncope
“well outside of the 15-minute window.” Id. at 7. However, Ms. Cottingham did
not file this article.

      Respondent submitted a sur-reply noting that the Court granted a motion for
review in Simmons. Resp’t’s Notice of Add’l Auth., filed Nov. 28, 2016. The
Court in Simmons stated: “[A] statute of limitations deadline does not excuse
counsel from endeavoring to confirm that the vaccine injury alleged has occurred
by producing supporting evidence.” Simmons v. Sec’y of Health & Human Servs.,
128 Fed. Cl. 579, 584 (2016).

       The undersigned found that Ms. Cottingham did not satisfy the reasonable
basis standard for two reasons. Cottingham v. Sec’y of Health & Human Servs.,
No. 15-1291V, 2017 WL 1476242 (Fed. Cl. Spec. Mstr. Mar. 30, 2017), vacated
and remanded, 134 Fed. Cl. 567 (2017) (hereinafter “First Fees Decision”). First,
the undersigned interpreted the Vaccine Act as not allowing the reasonable basis
standard to change because a statute of limitation was looming. Id. at *9-10.
Second, the undersigned found that the evidence did not support a finding of
reasonable basis. The First Fees Decision looked to see whether “medical records
or medical opinions” supported the claims in the petition. Id. at *11. Because
neither medical records nor medical opinions supported the assertion that the HPV



                                             9
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 10 of 71




vaccination caused Ms. Cottingham’s headaches, fainting, or menstrual problems,
the First Fees Decision did not award attorneys’ fees and costs. 4 Id. at *6-11.

       Ms. Cottingham sought reconsideration. Ms. Cottingham opened by arguing
that an “evidence based standard” for evaluating reasonable basis “constitutes [an]
error of law” and “violates the spirit and intent of the Vaccine Act[].” Pet’r’s Mot.
for Recons., filed April 7, 2017, at 1. Ms. Cottingham developed her argument
that the statute of limitations should affect the reasonable basis analysis. Id. at 1-5.
She also maintained that the undersigned “inappropriately applied an entitlement
analysis.” Id. at 5. Under this argument, Ms. Cottingham reviewed medical
records, organized by whether her counsel received them before or after he filed
the petition. A point of emphasis was that Ms. Cottingham submitted an affidavit
about her headaches, which could have been credited despite its inconsistency with
the medical records. Ms. Cottingham also maintained that when she started to
experience symptoms was not part of the reasonable basis analysis because the
“appropriateness of onset under Althen prong 3 is a question for experts – not an
attorney.” Id. at 14. In this context, Ms. Cottingham quoted, but did not file, an
article by Dr. Poser from 1982. Id.

        The undersigned found that Ms. Cottingham’s case did not warrant
reconsideration. Cottingham v. Sec’y of Health & Human Servs., No. 15-1291V,
2017 WL 2209904 (Fed. Cl. Spec. Mstr. Apr. 20, 2017). The analysis was, again,
split into two parts. The first issue was the continuing dispute over whether the
pendency of the statute of limitations affects the analysis of reasonable basis. The
second part was a review of the evidence. Although Ms. Cottingham had
maintained that the First Fees Decision “cherry pick[ed] the evidence,” she did not
identify any records that were not discussed in the First Fees Decision. Id. at *3.
Although Ms. Cottingham had maintained that her affidavit regarding the onset of
her allegedly weekly headaches could have been credited, the lack of discussion in
any medical record about “regular weekly headaches” made her affidavit “strain
credibility.” Id. at *4. Finally, Ms. Cottingham had not established that the First
Fees Decision improperly considered the temporal relationship between the




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        The First Fees Decision also looked at the attorney’s conduct. But, given later
developments in Federal Circuit law, the attorney’s conduct is no longer relevant in determining
reasonable basis.

                                                  10
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 11 of 71




vaccination and the alleged onset of different conditions. Consequently, Ms.
Cottingham’s motion for reconsideration was denied.

             2.     First Motion for Review, First Opinion, and Second Fees
                    Decision

       Ms. Cottingham filed a motion for review. She argued that the looming
statute of limitations and the conduct of an attorney for petitioners affected the
analysis of reasonable basis. Pet’r’s Mot. for Rev., filed April 27, 2017, at 2-6.
Ms. Cottingham also argued that the special master erred by evaluating the case
“under an elevated entitlement standard, not a reasonable basis standard.” Id. at 8.
Much of this aspect of the motion for review repeats arguments in the motion for
reconsideration. Ms. Cottingham emphasized the value of her affidavit,
particularly in regard to her allegation that she experienced headaches on a weekly
basis. See, e.g., id. at 14. Ms. Cottingham argued that her attorney was not
responsible for determining whether the onset of her various conditions fell within
a medically appropriate time. Id. at 15-17. In this context, Ms. Cottingham again
quoted a Poser article, which was not an exhibit. Id. at 17. Ms. Cottingham’s
April 27, 2017 motion for review did not reference the Blitshteyn article, which
was not an exhibit, or the product monograph, which is exhibit A.

       The Secretary responded to both themes. First, the Secretary argued that an
evidence-based standard was appropriate for evaluating reasonable basis. Resp’t’s
Resp., filed May 26, 2017, at 9-17. Second, the Secretary maintained that the
special master’s finding that Ms. Cottingham did not satisfy the reasonable basis
standard under the totality of circumstances test was not arbitrary or capricious. Id.
at 17-20. As part of this argument, the Secretary contended that “[b]ecause the
petition was alleging injuries [Ms. Cottingham] did not have and timeframes
between vaccination and onset that were facially suspect and unsupported by any
medical opinion or prior case decisions, a ‘reasonable basis’ for the petition’s filing
did not exist.” Id. at 19.

        Ms. Cottingham replied. She continued to press the value of her affidavit.
Pet’r’s Reply, filed June 2, 2017, at 2 (citing Vaccine Rule 2(c)(2)(B)). To Ms.
Cottingham, the special master “baffl[ingly] . . . ignore[d] under-oath testimony.”
Id. Ms. Cottingham asserted that the undersigned “is the only Special Master to
continue to espouse an evidence-based standard” for evaluating reasonable basis.
Id. at 2. With respect to the evidence, Ms. Cottingham asserted that three articles
connected the human papillomavirus vaccine to autonomic dysfunction. Id. at 9-
10. However, the three articles (Martinez-Lavin, Kinoshita, and Brinth) were not
                                              11
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 12 of 71




filed as exhibits. Ms. Cottingham did not cite the product monograph, although
she referred to the Vaccine Injury Table, which associates HPV vaccination with
syncope that occurs within one hour. Id. at 10.

       The Court granted the motion for review. Cottingham v. Sec’y of Health &
Human Servs., 134 Fed. Cl. 567 (2017) (hereinafter “First Opinion”). For each of
the two reasons the First Fees Decision gave for finding that there was not a
reasonable basis for the claim set forth in the petition, the Court stated that the
standard was not correct. With respect to the discrepancy between Ms.
Cottingham’s affidavit and the contemporaneously created medical records, the
Court stated: “To interpret these medical records to vitiate any reasonable basis for
the claim places too onerous a burden on counsel at the pleading stage.” Id. at 576.
The Court continued: “Insisting that an injured claimant’s testimony precisely
mesh with medical records is too exacting a standard to apply in assessing whether
a claim has a reasonable basis.” Id.

      The Court’s ruling with respect to the temporal relationship between the
vaccination and the onset of symptoms was similar. “The Special Master’s
conclusion that Petitioner’s counsel was required to marshal evidence and
precedent on the timing of onset of [HPV] vaccine injuries to establish a
reasonable basis for filing a claim asks too much.” Id. Accordingly, the Court
vacated the First Fees Decision and remanded for additional adjudication under the
standard articulated in its ruling.

      After the Court issued its First Opinion, Ms. Cottingham filed a
supplemental motion for attorneys’ fees and costs. This motion captures efforts of
Mr. Downing and others beginning October 21, 2016. The motion encompassed
work on the October 26, 2016 motion for attorneys’ fees and costs, the reply brief,
the motion for reconsideration, and the motion for review. Ms. Cottingham sought
$20,182.50 for attorneys’ work in litigating the fee dispute as well as an additional
$1,758.09 in costs. Pet’r’s Supp’l Mot., filed Sept. 19, 2017. Following an
informal request from the undersigned, Ms. Cottingham submitted her General
Order #9 statement on November 6, 2017, indicating that Ms. Cottingham had not
incurred any costs personally.

       The undersigned found that under the Court’s standard, Ms. Cottingham
satisfied the reasonable basis standard. The undersigned did not consider the
discrepancies between the medical records and Ms. Cottingham’s affidavit. The
undersigned also did not consider the latency between vaccination and the onset of
Ms. Cottingham’s headaches, fainting, or menstrual difficulties. Under the Court’s
                                            12
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 13 of 71




standard, “[Ms. Cottingham’s] affidavit, by itself, carries Ms. Cottingham’s burden
to establish a reasonable basis.” Cottingham v. Sec’y of Health & Human Servs.,
No. 15-1291V, 2017 WL 6816709 (Fed. Cl. Spec. Mstr. Dec. 12, 2017), vacated
and remanded, 139 Fed. Cl. 88 (2018) (hereinafter “Second Fees Decision”).

       With respect to the amount of attorneys’ fees and costs, the Second Fees
Decision awarded Ms. Cottingham $32,909.36. Additional details about the
rationale for this award is deferred until section VII below.

               3.      Second Motion for Review, Second Opinion, and Third Fees
                       Decision

       This time, the Secretary challenged the undersigned’s decision. The
Secretary argued that the Court vacate its September 18, 2017 [First] Opinion and
reinstate the First Fees Decision, issued on March 30, 2017. The basis for this
argument was that in a precedential opinion, the Federal Circuit held that neither a
looming statute of limitations nor the actions of counsel were part of the
examination into reasonable basis. The Federal Circuit, instead, required an
“objective inquiry.” Resp’t’s Mot. for Rev., filed Jan. 10, 2018, at 9 (citing
Simmons v. Sec’y of Health & Human Servs., 876 F.3d 632 (Fed. Cir. 2017)).

       After discussing Simmons, the Secretary turned to the record in Ms.
Cottingham’s case. Referring the First Fees Decision, the Secretary maintained
that “[b]ecause petitioner submitted no evidence to support the causation claim, the
Special Master did not abuse his discretion in finding that the petitioner lacked a
reasonable basis.” Resp’t’s Mot. for Rev. at 14. In other words, “without any
evidence to support the causation claim, it is clear that petitioner fails to satisfy her
burden for entitlement to compensation for attorneys’ fees and costs under the
reasonable-basis standard.” Id. at 15 (emphasis in original). The Secretary further
argued that “neither the affidavits nor [Ms. Cottingham’s] medical records support
a finding of reasonable basis.” Id. (capitalization changed without notation). In
doing so, the Secretary “respectfully object[ed]” to the Court’s faulting the special
master for expecting an affidavit to mesh with the medical records. Id. at 17.5
Similarly, the Secretary also “respectfully object[ed]” to the First Opinion’s
determination that the special master wrongly required petitioner “to marshal


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         The Secretary maintained this position, in part, to preserve the issue for potential
Federal Circuit review. Id. at 12.

                                                    13
         Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 14 of 71




evidence and precedent on timing of [Gardasil] vaccine injuries to establish a
reasonable basis for filing a claim.” Id. at 15.6 Accordingly, the Secretary
concluded that the Court should vacate its First Opinion and reinstate the First Fees
Decision.

       Ms. Cottingham argued that the Court should affirm the Second Fees
Decision. Ms. Cottingham stated that Simmons was distinguishable from her case
in that in Simmons, the petition was accompanied “by nothing – no medical
records or affidavits.” Pet’r’s Resp. to Mot. for Rev., filed Feb. 5, 2018, at 5. In
contrast, Ms. Cottingham “produced both sworn statements . . . as well as
objective, medical evidence supporting [her] complaints.” Id. at 6. “When [Ms.
Cottingham’s] affidavit is considered in context with her medical records, there is
certainly evidence supporting the Petition’s allegations. Furthermore, to say that
Petitioner’s filing in the Vaccine Program was not supported by any evidence is
simply a mischaracterization of the facts.” Id. at 8.

       Ms. Cottingham also argued that in the Secretary’s motion for review, the
Secretary wrongly “comingles the causation and reasonable basis analysis.” Id. at
9. The Secretary’s approach, in Ms. Cottingham’s view, was an attempt “to hold
Petitioners to too high of a standard on reasonable basis.” Id. at 10.

       Finally, Ms. Cottingham addressed questions about temporal proximity.
Citing the product monograph (exhibit A), she asserted that “the medical literature
supports autonomic dysfunction as an adverse reaction that occurs well outside of
the 15-minute window.” Id. at 10. Ms. Cottingham again cited, but did not file,
articles by Blitshteyn, Martinez-Lavin, Kinoshita, and Brinth. Id. at 10-11.

       The Court granted the motion for review and vacated the Second Fees
Decision. The Court ruled in an opinion issued on May 31, 2018, that the
undersigned misinterpreted the Court’s First Opinion in that “the Court did not find
that [Ms. Cottingham’s] affidavit alone would suffice to establish a finding of
reasonable basis. Rather, this Court held that the medical records could be
reconciled with the relevant testimony, and the two were not necessarily
inconsistent.” Cottingham v. Sec’y of Health & Human Servs., 139 Fed. Cl. 88, 94



         6
             Again, the Secretary noted that a Federal Circuit appeal on this issue was possible. Id.
at 15.

                                                       14
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 15 of 71




(2018). Accordingly, the Court remanded with these instructions and to consider
the effect of Simmons.

       After reviewing the evidence again, the undersigned found that Ms.
Cottingham did not satisfy the reasonable basis standard. Based upon Simmons,
the Third Fees Decision looked for evidence relating to claims set forth in the
petition. The Third Fees Decision defined the claims set forth in the petition as
“the HPV vaccination caused headaches within about four months, the HPV
vaccination caused fainting roughly nine months later, and the HPV vaccination
caused menstrual difficulties starting approximately 18 months later.” Cottingham
v. Sec’y of Health & Human Servs., No. 15-1291V, 2018 WL 3432638, at *5 (Fed.
Cl. Spec. Mstr. June 20, 2018), mot. for rev. denied, 141 Fed. Cl. 85 (2018),
vacated and remanded, 971 F.3d 1337 (Fed. Cir. 2020) (hereinafter “Third Fees
Decision”). To the undersigned, the key topic was “causation.” Accordingly, the
undersigned looked for either a medical record or a medical opinion in which a
medical doctor associated a vaccination with a medical problem. The undersigned
found neither a medical opinion from a retained expert nor a medical record from a
treating doctor. Accordingly, the undersigned found that Ms. Cottingham did not
meet the reasonable basis standard. The undersigned did not discuss the product
monograph, which had been filed as exhibit A. The undersigned also did not
discuss the articles to which Ms. Cottingham had referred but had not cited.

             4.    Third Motion for Review and Third Opinion

       Ms. Cottingham filed her second motion for review on July 19, 2018, in
which she requested the Court reverse the June 20, 2018 Fees Decision and award
the petitioner $32,909.36 in attorneys’ fees. Pet’r’s 2d Mot. for Rev., filed July 19,
2018, at 2. Ms. Cottingham developed her arguments in a memorandum filed in
conjunction with the motion.

       To Ms. Cottingham, the Court’s First Opinion should have dictated the
result. According to Ms. Cottingham, the Court did the following:

             1) construed the nature of the medical claims made; 2)
             documented that the symptoms and nature of the medical
             claims being made were reflected in the medical chart; 3)
             found that the medical chart corroborated the under-oath
             testimony from Petitioner, and 4) timing was acceptable
             – especially given that the onset timing for Gardasil
             injuries is not established.
                                             15
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 16 of 71




Pet’r’s Mem. Supporting Pet’r’s 2d Mot. for Rev. at 7. Ms. Cottingham argued
that the undersigned ignored these instructions and wrongly expanded the analysis
of reasonable basis “into a causation analysis.” Id. Ms. Cottingham maintained
that she “provided medical records that substantiate her claims of vaccine injury
causing harm.” Id. at 8. (However, Ms. Cottingham did not cite any medical
records in this portion of her brief.) Ms. Cottingham also challenged the
proposition that supplying a medical opinion or medical record was the standard
for evaluating reasonable basis. Id. In addition, Ms. Cottingham argued that the
special master “failed to consider the novelty of the Gardasil vaccination and the
ever-increasing body of medical literature supporting insidious onset of Gardasil
injuries.” Id. at 6.

       In contrast, the Secretary defended the June 20, 2018 decision. According to
the Secretary, the “Special Master correctly observed that in this case, petitioner
had not submitted any evidence to support her claim that [an] HPV vaccine caused
[her] to suffer headaches, fainting, and/or menstrual problems.” Resp’t’s Resp. to
Pet’r’s 2d Mot. for Rev., filed Aug. 20, 2018, at 2. The Secretary elaborated:
“Because petitioner submitted no evidence to support causation, the Special Master
necessarily concluded that petitioner failed to establish a reasonable basis for the
claim for which the petition was brought under the objective inquiry for reasonable
basis endorsed by Simmons.” Id. at 2-3 (emphasis in original).

       The Secretary disputed Ms. Cottingham’s argument that the undersigned
disregarded the Court’s previous guidance. To the Secretary, the undersigned
“weighed the affidavit evidence favorably, as previously directed.” Id. at 5-6. But,
to the Secretary, Ms. Cottingham had not produced any evidence that the HPV
vaccination caused any problem in her. “In any off-Table case, petitioner must do
more than establish that the alleged injuries occurred; petitioner’s burden is to
prove that the alleged injuries occurred and the vaccine was their cause.” Id. at 7
(emphasis in original).

      The Secretary further argued that “there is no objective evidence that [Ms.
Cottingham] suffered chronic headaches beginning four months after her HPV
vaccine.” Id. at 11. Similarly, the Secretary maintained that the onset of fainting (8
and 10 months after vaccination) and menstrual difficulties (18 months after
vaccination) “appear too remote in time from her HPV vaccine to be considered
temporally proximate.” Id. at 12. For both points, the Secretary advised that he
wanted to preserve any objection for a possible appeal to the Federal Circuit.


                                             16
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 17 of 71




       In reply, Ms. Cottingham argued requiring “evidence of vaccine causation to
find reasonable basis . . . is simply not the law.” Pet’r’s Reply, filed Aug. 27,
2018, at 2. Consistent with this view of the law, Ms. Cottingham stated the “fact
that her medical chart does not say ‘HPV vaccination is the cause’ is not a
requirement of a reasonable basis test.” Id. at 4. Instead, Ms. Cottingham
maintained that “[t]here is objective evidence in this record regarding symptoms
present and their correlation back to vaccination.” Id. at 3. However, Ms.
Cottingham did not cite any evidence in this passage. After making additional
arguments, Ms. Cottingham concluded by requesting that the Court reverse the
Third Fees Decision and award her $32,909.36 in attorneys’ fees and costs, or,
alternatively, remand for further proceedings for an award of reasonable attorneys’
fees and costs. Id. at 7.

        The Court denied the motion for review. The Court ruled that the special
master did not impose too high a burden of proof to establish reasonable basis. In
the Court’s view, the special master did not require Ms. Cottingham “to satisfy the
Althen factors or otherwise demonstrate causation in fact.” Cottingham v. Sec’y of
Health & Human Servs., 141 Fed. Cl. 85, 88 (2018), vacated and remanded, 971
F.3d 1337 (Fed. Cir. 2020) (hereinafter “Third Opinion”). “Rather, in concluding
that Petitioner’s claim lacked a reasonable basis, the Special Master focused on the
lack of evidence in Petitioner’s medical records and the treating physicians’
diagnosis, along with the absence of any expert opinion or supporting literature.”
Id. at 88-89.

       In addition, the Court disagreed with Ms. Cottingham’s argument that the
special master disagreed with an earlier finding from the Court. “Contrary to
Petitioner’s argument, this Court did not reassess the sufficiency of Petitioner’s
offered evidence or find that Petitioner had in fact provided sufficient evidence to
demonstrate that her claim had a reasonable basis.” Id. at 88. Thus, on December
28, 2018, a judgment, denying her attorneys’ fees and costs was entered.

             5.    Federal Circuit

      Ms. Cottingham appealed the judgment to the Federal Circuit. Ms.
Cottingham argued that to establish reasonable basis, petitioners must present
evidence that is “‘markedly less than needed to prove causation.’” Br. of Pet’r-
Appellant, filed May 14, 2019, at 16 (quoting Bekiaris v. Sec’y of Health &
Human Servs., 140 Fed. Cl. 108, 114 (2018)). Ms. Cottingham further argued that
she met this standard because “she provided evidence demonstrating her receipt of
a covered vaccination. Petitioner presented evidence in her medical chart
                                            17
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 18 of 71




documenting the very injuries and symptoms which she claimed was related to her
receipt of said vaccination. Petitioner articulated a rational and reasonable causal
connection between the two. Reasonable basis exists.” Id.

       Ms. Cottingham directed the Federal Circuit to earlier briefs (discussed
above) in which she cited medical articles by Blitshteyn, Martinez-Lavin,
Kinoshita, and Ozawa. Id. at 17-18. Ms. Cottingham also asserted that the HPV
vaccination was a novel vaccination. Ms. Cottingham next reviewed the material
contained in medical records and maintained that medical records support the
assertions in her affidavit. See id. at 20-25. In this context, Ms. Cottingham stated
that the product monograph for Gardasil “connect[s]” the HPV vaccine with
“headache, nausea, syncope, abdominal pain and dizziness.” Id. at 23. In
conclusion, based upon those arguments, Ms. Cottingham requested that the
Federal Circuit vacate the decision and “remand with instructions to award
attorneys’ fees and costs.” Id. at 27.

       In response, the Secretary urged the Federal Circuit to confirm that
Simmons, in his view, had rejected the “totality of the circumstances test.” Br. of
Resp’t-Appellee, filed June 5, 2019, at 12-17. In terms of Ms. Cottingham’s case,
the Secretary maintained the decision that the petition lacked a reasonable basis
should be affirmed because she “submitted no evidence on a critical element –
specifically, vaccine-causation.” Id. at 17. To the Secretary, although Ms.
Cottingham “discusses certain medical records that allegedly ‘support [her] injury
claim,’ those records merely document that [she] was experiencing certain
symptoms in the several months after her vaccination; they do not causally relate
those symptoms to the Gardasil vaccine.” Id. at 19 (quoting Br. of Pet’r-Appellant
at 9).

       The Secretary reviewed various pieces of evidence on which Ms.
Cottingham relied. The Secretary maintained that the alleged onset of headaches
(four months after the vaccination) presented an immediate and obvious “obstacle
to proving causation.” Id. at 21. The Secretary disputed Ms. Cottingham’s
characterization of the HPV vaccination as “novel.” Id. The Secretary noted that
the articles on which Ms. Cottingham was relying were not part of the record and
that the articles, by their titles, addressed different conditions. Id. at 22-23. The
Secretary, however, did not address the product monograph, which the Secretary
had filed into the record as exhibit A.

       The Federal Circuit granted Ms. Cottingham some, but not all, of the relief
she sought. The Federal Circuit vacated the December 28, 2018 judgment.
                                           18
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 19 of 71




However, as discussed below, the Federal Circuit did not order an award of
attorneys’ fees, remanding that question.

        As to the question regarding whether special masters may consider “the
totality of the circumstances,” the Federal Circuit stated that Simmons did not
reject this test. Cottingham v. Sec’y of Health & Human Servs., 971 F.3d 1337,
1344-45 (Fed. Cir. 2020). Petitioners can satisfy the “objective test” of reasonable
“through objective evidence.” Id. at 1344.

       The Federal Circuit further explained that petitioners “must point to
evidence of a causal relationship between the administration of the vaccine and
[their] injuries in order to establish that a reasonable basis for the claim existed
when the petition was filed.” Id. at 1346. This evidence is lower than the
preponderance of evidence standard. “Indeed, more than a mere scintilla but less
than a preponderance of evidence could provide sufficient grounds for a special
master to find reasonable basis.” Id.

       When the Federal Circuit measured the information that Ms. Cottingham had
provided, the Federal Circuit deemed the undersigned’s statement that Ms.
Cottingham had “presented ‘no evidence’ that supported [her] assertion that the
Gardasil vaccination caused [her] injuries” constituted reversible error in that it
“rests on a clearly erroneous fact finding.” Id. at 1344-45.

             6.    Remand After Federal Circuit Decision

       After the Federal Circuit issued its mandate and an order was issued
remanding the case back to the undersigned on October 14, 2020, the undersigned
issued an order setting out a briefing schedule on October 15, 2020. The parties
filed initial briefs on November 19, 2020, and filed reply briefs on December 7,
2020. The undersigned then scheduled an oral argument for December 14, 2020,
and issued some guidance on the content of the oral argument on December 11,
2020. Oral argument was held remotely via videoconferencing on December 14,
2020. Oral argument proved helpful in extrapolating the parties’ various points on
remand.

II.   Scope of Remand

       Preliminarily, the parties dispute the scope of the Federal Circuit’s remand.
To Ms. Cottingham, a denial of attorneys’ fees would constitute “legal error.”
Pet’r’s Br., filed Nov. 19, 2020, at 4. Ms. Cottingham bases this argument on

                                             19
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 20 of 71




Federal Circuit statements such as “the record does contain objective evidence of
causation supporting a reasonable basis,” and “[Ms. Cottingham’s] medical records
paired with the Gardasil package insert thus constitute at minimal circumstantial,
objective evidence supporting causation.” Id. at 3-4 (quoting Cottingham v. Sec’y
of Health & Human Servs., 917 F.3d 1337, 1346 (Fed. Cir. 2020)); accord id. at
17.

       On the other hand, the Secretary maintains the “Special Master absolutely
possesses discretion on remand to find that petitioner has not satisfied the
reasonable basis standard.” Resp’t’s Br., filed Nov. 19, 2020, at 1. To the
Secretary, the key passage from the Federal Circuit is the statement: “To be clear,
we make no determination on the weight of the objective evidence in the record or
whether that evidence establishes reasonable basis, for these are factual findings
for the Special Master, and not this court.” Id. (quoting Cottingham, 917 F.3d at
1346-47).

      As a subordinate tribunal, the undersigned must abide by the mandate of a
reviewing appellate authority. The undersigned interprets the Federal Circuit’s
opinion as not dictating a result on remand.

       In other cases, the Federal Circuit has defined its scope of review.
Ordinarily, the Federal Circuit does not find facts. Deribeaux v. Sec’y of Health &
Human Servs., 717 F.3d 1363, 1366 (Fed. Cir. 2013); Munn v. Sec’y of Health &
Human Servs., 970 F.2d 863, 868-71 (Fed. Cir. 1992). But see Andreu v. Sec’y of
Health & Human Servs., 569 F.3d 1367, 1375 (Fed. Cir. 2009) (finding that
petitioners were entitled to compensation).

      “Upon return of its mandate, the district court cannot give relief beyond the
scope of that mandate, but it may act on matters left open by the mandate.”
Laitram Corp. v. NEC Corp., 115 F.3d 947, 951 (Fed. Cir. 1997) (quoting Caldwell
v. Puget Sound Elec. Apprenticeship & Training Tr., 824 F.2d 765, 767 (9th Cir.
1987)) (internal quotation marks omitted). Here, as the Secretary points out, see
Resp’t’s Br. at 1, the Federal Circuit did not reverse the outcome. Instead, the
Federal Circuit vacated and remanded.

       Accordingly, the undersigned interprets the Federal Circuit’s opinion and
mandate as requiring a re-examination of the evidence under the totality of
circumstances to determine whether Ms. Cottingham possessed a reasonable basis
for the claim set forth in the petition. The undersigned understands the Federal
Circuit did not require a particular result.
                                              20
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 21 of 71




III.   Standards for Adjudication

       When a petitioner does not receive compensation (like Ms. Cottingham
here), a petitioner remains eligible for an award of attorneys’ fees and costs when a
special master “determines that the petition was brought in good faith and there
was a reasonable basis for the claim for which the petition was brought.” 42
U.S.C. § 300aa–15(e). Here, the Secretary has not raised a challenge to Ms.
Cottingham’s good faith. Thus, the disputed issue is reasonable basis.

       The precise standard by which special masters should evaluate claims of
reasonable basis is still being fleshed out. However, some points about reasonable
basis have been established in the last few years. The evidentiary standard for
determining reasonable basis is less than the preponderance of the evidence.
Chuisano v. Sec’y of Health & Human Servs., No. 07-452V, 2013 WL 6324660, at
*12-13 (Fed. Cl. Spec. Mstr. Oct. 25, 2013), mot. for rev. denied, 116 Fed. Cl. 276
(2014).

       When a petitioner submits literally no evidence, then a petitioner lacks a
reasonable basis. Simmons v. Sec’y of Health & Human Servs., 875 F.3d 632
(Fed. Cir. 2017). Simmons, thus, clarified that petitioners meet their burden to
establish reasonable basis by presenting objective evidence. Id. at 635-36.7

       In cases in which petitioners submit some objective evidence, Simmons does
not control the result. The Federal Circuit saw the present case as one in which
Ms. Cottingham had presented some evidence of reasonable basis. Thus, the
Federal Circuit reasoned “more than a mere scintilla but less than a preponderance
of proof could provide sufficient grounds for a special master to find reasonable
basis.” Cottingham, 917 F.3d at 1346.

      The operative word in that quotation is “could.” The presence of “more than
a mere scintilla” of evidence does not mandate a finding of reasonable basis. This
lesson is demonstrated by the Federal Circuit’s earlier precedential opinion on
reasonable basis, Perreira v. Secretary of Health & Human Services. In that case,

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         As outlined in the procedural history, much of the parties’ arguments in earlier portions
of the case concerned whether Ms. Cottingham’s affidavit constituted evidence supporting
reasonable basis. Ms. Cottingham put this argument forward to the Federal Circuit as well.
However, the Federal Circuit did not resolve whether a petitioner’s affidavit can constitute
“objective evidence” supporting, in whole or in part, a finding of reasonable basis.

                                                   21
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 22 of 71




the Perreiras alleged that a 1982 administration of the diphtheria-pertussis-tetanus
(“DPT”) vaccine harmed their daughter, Carly. Initially, the Perreiras maintained
that Carly started having seizures four days after the second dose of DPT, based
upon the testimony of Carly’s mother. The former Chief Special Master declined
to credit Ms. Perreira’s testimony and found, instead, that the seizures started 20
days after the second dose of DPT. Perreira v. Sec’y of Health & Human Servs.,
No. 90-847V, 1991 WL 117740, at *1, 1 n.2 (Cl. Ct. Spec. Mstr. June 13, 1991).

        Given this fact finding regarding the sequence of events, the Perreiras
attempted to establish a significant aggravation claim. They based this alternative
claim on the contention that two weeks after the third dose of DPT, Carly had more
seizures. The former Chief Special Master rejected the Perreiras’ claim because
there was no support for their expert’s opinion that DPT causes harm that would
first appear two weeks later. Id.

       After the entitlement proceedings concluded, the Perreiras sought an award
for their attorneys’ fees and costs. The former Chief Special Master found that the
Perreiras had a reasonable basis for filing their petition. Perreira v. Sec’y of Health
& Human Servs., No. 90-487V, 1992 WL 164436, at *2 (Cl. Ct. Spec. Mstr. June
12, 1993).

       The decision does not provide a reason for finding reasonable basis.
However, the former Chief Special Master explicitly found that a reasonable basis
no longer existed after the expert submitted a report, noting that the expert’s theory
“amounted to his own unsupported speculation[,]” and that the Perreiras’ attorney
should have recognized that the expert’s theory “was legally insufficient to
establish causation.” Id. at *1-2. The former Chief Special Master also stated that
the Perreiras’ attorney recognized that this case “was a ‘bad case.’” Id.

       The Perreiras filed a motion for review of the denial of a portion of the
attorneys’ fees and costs. In finding the former Chief Special Master's
determination not arbitrary, the Court of Federal Claims rejected the petitioners’
arguments, including an argument that “counsel had an absolute right to rely on the
expert’s opinion in pursuing the case.” Perreira v. Sec'y of Health & Human
Servs., 27 Fed. Cl. 29, 33 (1992).

      These decisions form the background for the Federal Circuit’s discussion of
“reasonable basis” in its Perreira opinion. Affirming the original decision, the

                                             22
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 23 of 71




Federal Circuit held that the Chief Special Master could determine that a petitioner
lacked reasonable basis, despite an expert report, because “the expert opinion was
grounded in neither medical literature nor studies.” Perreira v. Sec’y of Health &
Human Servs., 33 F.3d 1375, 1377 (Fed. Cir. 1994). The Federal Circuit explained
that “[t]he special master did not require counsel to verify the validity of the
expert's opinion, but only required the opinion to be more than unsupported
speculation.” Id.

       “Perreira demonstrates that special masters enjoy discretion to find that a
claim lacked a reasonable basis when the evidence on which the petitioners relies
(there, an expert’s report) is rooted in unsupported speculation.” Ellis v. Sec’y of
Health & Human Servs., No. 13-336V, 2019 WL 3315326, at *4 (Fed. Cl. Spec.
Mstr. June 24, 2019). The Federal Circuit provided the “reasonable basis”
standard with some teeth in Perreira, by declaring: “Congress must not have
intended that every claimant, whether being compensated or not under the Vaccine
Act, collect attorneys’ fees and costs by merely having an expert state an
unsupported opinion.” 33 F.3d at 1377.

        It appears that the testimony of an expert constitutes “more than a mere
scintilla” of evidence. If so, then Perreira demonstrates that a petitioner could
present some evidence regarding causation and yet not satisfy the reasonable basis
standard.

       While the Federal Circuit did not cite Perreira in Cottingham, the Federal
Circuit’s use of the term “could” in Cottingham also suggests that special masters
can reach different outcomes and those disparate outcomes might all be rational.
In the context of determining whether petitioners have met their burden to present
preponderant evidence supporting causation, appellate authorities have recognized
that questions of causation turn on the evidence presented, and reasonable special
masters may weigh evidence differently. Lampe v. Sec’y of Health & Human
Servs., 219 F.3d 1357, 1368 (Fed. Cir. 2000); Estep v. Sec’y of Health & Human
Servs., 28 Fed. Cl. 664, 669 (1993). Different outcomes among special masters as
to the weight and “utility” of scientific and factual evidence are “within Program
standards.” Sharpnack v. Sec’y of Health & Human Servs., 27 Fed. Cl. 457, 461
(1993); see also Snyder v. Sec’y of Health & Human Servs., 88 Fed. Cl. 706, 720
(2009) (“The special masters were free to reach different conclusions based on the
same evidence.”) (citing Sharpnack, 27 Fed. Cl. at 461). Thus, special masters’
adjudications on entitlement do not dictate outcome in other cases. Boatmon v.
Sec’y of Health & Human Servs., 941 F.3d 1351, 1358 (Fed. Cir. 2019).
                                              23
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 24 of 71




       The possibility that different finders of fact can reach different outcomes on
entitlement also appears to extend to questions of reasonable basis. See Silva v.
Sec’y of Health & Human Servs., 108 Fed. Cl. 401, 402 (2012) (stating, before
Simmons and Cottingham, that the Vaccine Act gives a special master “maximum”
discretion in determining reasonable basis). This discretion to weigh evidence
differently and to reach different conclusions regarding reasonable basis (or the
lack thereof) means that decisions of other special masters do not constitute
binding precedent.

       While special masters seem to enjoy latitude in how they evaluate evidence,
special masters must conform to legal standards set by appellate authorities. After
the Federal Circuit’s remand in Ms. Cottingham’s case, the parties continue to
dispute at least two related questions of law. First, the parties offer competing
understandings of the terms “feasibility” and “feasible” in the context of
reasonable basis. Second, the parties differ on whether, to establish a reasonable
basis for the claims set forth in a petition, petitioners must present some evidence
that a vaccination caused this particular vaccinee’s problem via a treating doctor or
retained expert.

       Ms. Cottingham maintains that a claim possesses reasonable basis when a
petitioner: “(1) receives a covered vaccination; (2) produces medical records
demonstrating the complaints alleged; and (3) it is feasible to think that the
documented complaints could have been caused by the vaccination at issue.”
Pet’r’s Br. at 5. While at this portion of her brief Ms. Cottingham cites no
authority for this definition, she later relates her understanding of “feasible” to the
Federal Circuit’s statement that “[Ms. Cottingham’s] injuries paired with the
Gardasil package insert thus constitute a minimum circumstantial, objective
evidence supporting causation.” Id. at 5 (quoting Cottingham, 917 F.3d at 1346).

       The Secretary uses “feasible” differently. To the Secretary, a claim may
satisfy the reasonable basis standard when a petitioner can “point to some objective
evidence to support each of the Althen prongs because an absence of evidence as
to any necessary element of the petitioner’s prima facie case necessarily means the
claim has no feasibility of success.” Resp’t’s Br. at 5. The Secretary analogizes
the reasonable basis standard to the summary judgment standard in which a failure
of proof on an element of a nonmoving party’s case warrants judgment as a matter
of law. Id. (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)); see also id.
at 8 (maintaining that before Ms. Cottingham filed a motion to dismiss her case
voluntarily, the Secretary was entitled to judgment as a matter of law).

                                              24
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 25 of 71




       The Secretary’s linking “feasibility” to the prongs found in Althen v.
Secretary of Health & Human Services, 418 F.3d 1274, 1278 (Fed. Cir. 2005),
introduces the second legal question on which the parties differ. Ms. Cottingham
argues: “Delving into a causation under Althen is an improper elevation of the
reasonable basis standard. . . . [Petitioner] does not need to prove either Althen
prongs 1 or 2 by a preponderance of evidence.” Pet’r’s Br. at 5. Ms. Cottingham
expands this argument to include the timing prong of Althen as well: “Requiring
[petitioner] to satisfy Althen prong 3 for a finding of reasonable basis would
constitute legal error.” Id. at 10.

       The Secretary offers a different view. To satisfy the reasonable basis
standard, “a petitioner must present objective evidence to support each of the
Althen prongs, along with the other essential elements laid out in Section 11(c) of
the [Vaccine] Act.” Resp’t’s Br. at 5. The Secretary’s conclusion is based upon
the Federal Circuit’s summary of what the Vaccine Act (42 U.S.C. § 300aa–
11(c)(1)) requires in a petition. Id. at 3. In particular, the third of five statutory
elements requires that the vaccinee have “sustained . . . an injury . . . that was
caused by the vaccine.” Cottingham, 971 F.3d at 1345-46. The Federal Circuit
mandated that Ms. Cottingham “must point to evidence of a causal relationship
between the administration of the vaccine and her injuries in order to establish that
a reasonable basis for the claim existed when the petition was filed.” Id. at 1346.
The “causal relationship,” in turn, is defined as the three-part test in Althen, 418
F.3d at 1278.

       Althen’s three-part test takes significance with respect to prong 2. Prong 2
of Althen requires, for purposes of entitlement, that a petitioner demonstrate with
preponderant evidence “a logical sequence of cause and effect showing that the
vaccination was the reason for the injury.” 418 F.3d at 1278. The Secretary argues
that “the record in this case is devoid of any evidence to address the second prong
of the Althen test. Accordingly, petitioner has failed to present even a scintilla of
evidence to address an essential element of her claim.” Resp’t’s Br. at 3.
Similarly, during oral argument, the Secretary maintained that in an off-Table case,
petitioners are required to have “some medical expert, whether that’s a treating
physician or an expert, tie the vaccination to the alleged injuries,” Tr. 67, and that
the lack of a report from a treating doctor or retained expert affects the reasonable
basis analysis.

      On these two points, the Secretary is more persuasive, offering a view that is
consistent with the Vaccine Act, Perreira, and Simmons. But, as explained below,

                                             25
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 26 of 71




Ms. Cottingham’s position is not wholly implausible as it, potentially, is more
consistent with the Federal Circuit’s opinion in this case.

       Preliminarily, although the parties use the terms “feasibility” and “feasible”
to evaluate reasonable basis, the appropriateness of this terminology is unclear.
Simmons directs special masters to look at objective evidence. Simmons, 875 F.3d
at 635-36. The Federal Circuit in Simmons did not use the terms “feasibility” or
“feasible.” Similarly, the Federal Circuit in Cottingham also did not use the terms
“feasibility” or “feasible.”

      Cottingham advances the jurisprudence around reasonable basis by directing
special masters to look for Simmons’s “objective evidence” in the elements
comprising a petitioner’s case-in-chief, that is, the five elements listed 42 U.S.C.
§ 300aa–11(c)(1). One of those statutorily required elements (paragraph (C)) is a
showing of causation.

       For cases in which petitioners (like Ms. Cottingham) allege an off-Table
injury, the Federal Circuit defined how petitioners demonstrate causation-in-fact in
Althen v. Secretary of Health & Human Services, 418 F.3d 1274, 1278 (Fed. Cir.
2005). According to Hibbard v. Secretary of Health & Human Services, 698 F.3d
1355, 1366 (Fed. Cir. 2012), the en banc Federal Circuit opinion in Cloer v.
Secretary of Health & Human Services, 654 F.3d 1322, 1334 n.4 (Fed. Cir. 2011),
“characterized Althen as setting forth ‘three pleading requirements for a non-Table
injury petition.’”8 Cloer, itself, explained that in off-Table cases, “a petitioner
must file an affidavit and supporting documentation demonstrating that the
‘vaccine-related injury’ for which compensation is sought was caused by a
vaccine.” Cloer, 654 F.3d at 1334.

      It would seem that the Federal Circuit’s statement that Ms. Cottingham
“must point to evidence of a causal relationship between the administration of the
vaccine and her injuries in order to establish that a reasonable basis for the claim
existed when the petition was filed,” Cottingham, 917 F.3d at 1346, must be
importing the Althen factors into the reasonable basis analysis. However,
Cottingham does not refer to Althen at all.



       8
         While the Althen test might be pleading elements, Ms. Cottingham’s petition does not
include assertions about specific parts of the Althen test.

                                                 26
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 27 of 71




       As set forth above, the Secretary’s position is that an analysis of the
“objective evidence” must account for all the Althen factors. Ms. Cottingham’s
position on this point, however, is not clear due to some rhetorical sleight-of-hand.
Ms. Cottingham argues in the reasonable basis context, a petitioner “does not need
to prove either Althen prongs 1 or 2 by a preponderance of evidence.” Pet’r’s Br.
at 5 (emphasis added). Additionally, Ms. Cottingham maintains that “[r]equiring
[petitioner] to satisfy Althen prong 3 for a finding of reasonable basis would
constitute legal error.” Id. at 10 (emphasis added).

       What Ms. Cottingham has stated is literally accurate, but misdirected. The
preponderance of evidence standard is the standard by which special masters
determine whether petitioners are entitled to compensation. 42 U.S.C. § 300aa–13.
The preponderance of the evidence standard is not the correct standard for
determining whether petitioners established a reasonable basis for the claims set
forth in the petition. By referring to the “preponderance of the evidence” standard,
Ms. Cottingham has muddied the waters on the question as to whether the “more
than a mere scintilla of evidence” standard applies to each of the Althen prongs.

       Given Cottingham’s focus on “causation,” as well as the wide-spread
acceptance of the Althen three-part test for causation-in-fact cases, the undersigned
holds that an examination of reasonable basis should include an analysis to see
whether objective evidence supports a petition’s claim with respect to each of the
Althen prongs.9 The evidentiary support on any of the three prongs does not have
to satisfy the preponderance of the evidence standard. But, the evidentiary support
on all the three prongs must be “more than a mere scintilla.”

       The clarification that the reasonable basis analysis should encompass each of
the Althen prongs is both small and consequential. The clarification is “small” in
the sense that it would seem that the causation element found in section
11(c)(1)(C) would be undefined without the Althen test. Althen’s interpretation of
the causation standard illuminates the meaning of the Vaccine Act. To jettison the
Althen test for purposes of reasonable basis would leave litigants and special
masters in the dark.



       9
         If Cottingham intended the causation element for off-Table cases to mean something
other than the Althen test, Cottingham did not set forth any alternative way of reviewing
causation.

                                                 27
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 28 of 71




       On the other hand, looking at each of the Althen prongs as part of the
examination into determining whether reasonable basis supports the claims set
forth in the petition is “consequential” because of how petitioners satisfy the
second prong of Althen. The second prong of Althen has been approvingly likened
to asking the question “did the vaccine cause” the petitioner’s injury? Pafford v.
Sec’y of Health & Human Servs., 451 F.3d 1352, 1356 (Fed. Cir. 2006) (finding
the special master’s formulation consistent with Althen). This formulation
corresponds to the claims set forth in Ms. Cottingham’s petition: the HPV
vaccination caused Ms. Cottingham to suffer headaches, fainting, menstrual
difficulties, and autonomic dysfunction. See Pet. As the Federal Circuit
explained, “[t]he Vaccine Act provides that there must be a ‘reasonable basis for
the claim for which the petition was brought.’” Simmons, 875 F.3d at 636
(emphasis in Simmons). The petition here sets out the claim that not only can the
HPV vaccination cause headaches, fainting, menstrual difficulties, and autonomic
dysfunction in general, but also the HPV vaccination caused those problems in Ms.
Cottingham, a recipient of the HPV vaccine, specifically.

      The challenge is that an assessment that the vaccination harmed the vaccinee
would seem to come from a qualified person who is knowledgeable about the
vaccinee’s history. This informed and qualified person would normally produce
“medical records or . . . medical opinion” on which a special master may rely in
awarding petitioners compensation. 42 U.S.C. § 300aa–13(a).

        The ensuing question is whether “medical records,” which come from
treating doctors or “medical opinion,” which come from experts retained in the
litigation, are required to show, at the mere scintilla of evidence standard, a
reasonable basis for the claim set forth in the petition. For the reasons explained
above, if petitioners must present more than a scintilla of evidence regarding
Althen prong 2, then petitioners must file a statement from a treating doctor or
qualified expert indicating that the vaccination harmed the vaccinee because, it
would seem, that only treating doctors or qualified experts can express reliable
opinions about causation about a particular person. See Vaccine Rule 8(b)(1)
(requiring special masters to consider “relevant and reliable evidence”). Of course,
people who are not medically trained might offer opinions about causation, but
those opinions might not be reliable.

       A focus on treating doctors and qualified experts is not only logical but also
is consistent with the Vaccine Act. Congress dictated that special masters may
find petitioners entitled to compensation only when the claims, as defined in

                                             28
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 29 of 71




section 11(c)(1) (petitions), were substantiated “by medical records or by medical
opinion.” 42 U.S.C. § 300aa–13(a)(1). The provision that authorizes awards of
attorneys’ fees also depends upon a finding that “there was a reasonable basis for
the claim for which the petition was brought.” 42 U.S.C. § 300aa–15(e)(1).
Because both section 13(a)(1) and 15(e)(1) reference petitions, a fair understanding
of the Vaccine Act as a whole indicates that the analysis of reasonable basis would
at least consider whether “medical records” or “medical opinions” support the
claims set forth in the petition. See Sebelius v. Cloer, 569 U.S. 369, 377 (2013)
(discussing cross-references in section 11(a), and section 15(e)); Heinzelman v.
Sec’y of Health & Human Servs., 681 F.3d 1374, 1377 (Fed. Cir. 2012)
(construing the Vaccine Act according to the language and design of the statute as
a whole).

        Ms. Cottingham offers two ultimately unpersuasive arguments against this
method of analyzing whether reasonable basis supports the claims set forth in the
petition. First, again relying upon a bit of subterfuge, Ms. Cottingham argues that
“[a] reasonable basis analysis cannot possibly hinge on whether causation is stated
by treating physicians in the Petitioner’s medical chart.” Pet’r’s Reply at 3. But,
“medical records” are just one of two ways a petitioner might present more than a
scintilla of evidence regarding her proof on Althen prong two. The other
alternative---a “medical opinion”---is closed to Ms. Cottingham only because she
did not obtain a report from an expert. A report from a qualified expert stating that
the vaccination harmed Ms. Cottingham might have constituted more than a mere
scintilla of objective evidence that could have grounded a finding that a reasonable
basis supported the claims set forth in Ms. Cottingham’s petition. Cf. Perreira,
1992 WL 164436, at *1-2 (finding that petitioner’s claim with a wholly
unsupported expert report lacked reasonable basis after the expert report was filed),
mot. for rev. denied, 27 Fed. Cl. 29 (1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994).
Only Ms. Cottingham’s earlier unsuccessful pursuit of an expert opinion causes the
analysis of reasonable basis in her case now to “hinge” on the medical records her
treating doctors created.

       Ms. Cottingham’s second argument has somewhat more force but ultimately
lacks persuasiveness. This argument derives principally from the Federal Circuit’s
declaration that Ms. Cottingham’s “medical records paired with the Gardasil
package insert constitutes objective evidence supporting causation.” Cottingham,
917 F.3d at 1346, quoted in Pet’r’s Br. at 5. For this reason, Ms. Cottingham
maintains that she has enough evidence for Althen prong 2. Pet’r’s Br. at 5.
During oral argument, Ms. Cottingham’s attorney expanded on this point. Mr.
                                            29
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 30 of 71




Downing asserted that the product insert and the medical articles constitute
objective evidence for alleging that the HPV vaccine can cause headaches,
fainting, menstrual difficulties. Mr. Downing further asserted that the Kinoshita
article makes the timing “at least feasible.” Tr. 98. Then, and this is critical, Mr.
Downing stated: “so all I’ve done is I’ve taken my prong 1 theory and applied it to
the medical chart of this young woman. That is a prong 2 analysis.” Id.

       May the view of the petitioner’s attorney’s carry petitioner’s burden to
establish the reasonable basis for the claim set forth in the petition? The Secretary
answered: Mr. Downing’s assessment may be relevant to determining whether
“there was good faith to bring the claim, but it has no bearing on whether there is a
reasonable evidentiary basis for the claim set forth in the petition.” Tr. 105.

       Relatedly, during oral argument, Ms. Cottingham contended that the
Secretary raised---and the Federal Circuit rejected---the argument that the lack of
evidence on Althen prong 2 foreclosed a finding of reasonable basis for the claims
set forth in the petition. Tr. 69-69, 114; see also Tr. 111. Ms. Cottingham’s last
point seems not to match the record exactly. The Secretary’s brief to the Federal
Circuit did not cite Althen and did not use the term “prong 2” (or “prong two”). It
appears that the closest the Secretary came to advance the argument in the Federal
Circuit is that the medical articles, which Ms. Cottingham cited, should have been
accompanied by an expert report to opine they support Ms. Cottingham’s claim.
Br. Appellee-Respondent at 28. Therefore, the Federal Circuit’s opinion does not
prevent a deeper evaluation of the statements from Ms. Cottingham’s treating
doctors.

IV.   Re-Assessment of Evidence Potentially Relevant to Reasonable Basis

       Ms. Cottingham presented evidence, falling into four categories. First, she
presented her medical records. While section I.A. above, discusses her medical
records, they are again discussed in section A below to evaluate whether they
support the claims contained in the petition. Second, section B below reviews her
affidavit. Third, section C discusses the product insert. Finally, an analysis of the
medical articles is found in Section D.

      A.     Medical Records

      The Federal Circuit directed a more detailed analysis of seven medical
records. Accordingly, the parties were directed to address them. Order, issued
Oct. 15, 2020, ¶¶ 15-16. They are discussed in chronological order starting with
                                             30
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 31 of 71




the earliest created record. For reference, Ms. Cottingham received the allegedly
causal vaccination on July 5, 2012.

                                November 30, 2012

      Ms. Cottingham, who was 14 years old, saw a pediatrician, John Simpson.
Ms. Cottingham reported that she was suffering from fever, yellow mucous,
congestion, headaches “off and [on] all week,” and a sore throat in the mornings.
Exhibit 3 at 87-88 (appearing in the Joint Appendix at 35). When Dr. Simpson
examined Ms. Cottingham, her nose and throat were “moderately congested and
erythematous with some purulent postnasal discharge.” Id. at 87. Dr. Simpson
diagnosed Ms. Cottingham with cough, fever, and acute sinusitis. He prescribed
Amoxil and discussed symptomatic care. Id. at 88.

     In treating Ms. Cottingham for congestion, headaches, and a sore throat, Dr.
Simpson did not discuss the HPV vaccine. Dr. Simpson did not suggest that the
HPV vaccine caused any of these symptoms.

                                 January 31, 2013

       Ms. Cottingham returned to the pediatrician’s group and saw a different
pediatrician, Elizabeth Crum. The complaints were that Ms. Cottingham suffered
from runny nose and congestion for two days, a low-grade fever, a sore throat, and
a headache “today.” Exhibit 3 at 78. Ms. Cottingham was not having a cough,
shortness of breath, vomiting, or diarrhea. Id. Dr. Crum diagnosed Ms.
Cottingham with rhinitis and acute viral pharyngitis. Id. at 79. Dr. Crum
prescribed a course of Zyrtec and planned for symptomatic care. Id.; JA 61.

      Dr. Crum did not mention the HPV vaccination in the note for the
appointment for Ms. Cottingham’s runny nose, congestion, fever, sore throat, and
headache. Dr. Crum did not indicate that the HPV vaccination caused any of these
symptoms.

                                 March 29, 2013

       Ms. Cottingham acutely experienced “fever and dizziness” the morning of
this appointment. Exhibit 3 at 80. She stated that she fainted that morning. She
also stated that she vomited once but had no diarrhea. Id. A urinalysis showed
“very slight dehydration.” Id. The doctor who examined Ms. Cottingham, Richard
Stone, diagnosed her with gastroenteritis and dehydration. He indicated that Ms.
Cottingham was “at the early stage of an intestinal virus.” Id. at 81; JA 62.
                                            31
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 32 of 71




      Dr. Stone did not say anything about the HPV vaccination. Dr. Stone did
not opine that the HPV vaccination contributed to Ms. Cottingham’s fainting or
dehydration.

                                    May 23, 2013

       Ms. Cottingham informed Dr. Crum that she did not eat or drink anything
when she woke up. She and a friend went to lay out at a pool. She felt hot. When
she got up quickly to get something to eat, her vision became black and she felt
lightheaded. Her friend witnessed her fall backwards and hit her head on the
ground. The history noted that Ms. Cottingham had a similar episode in March
2013. Ms. Cottingham “does not have a history of syncope with exercise.”
Exhibit 3 at 70. Dr. Crum examined her and found a “[c]ompletely normal
neurologic exam. . . . Five out of five motor strength in all extremities.” Id. at 71.
Dr. Crum tested Ms. Cottingham’s orthostatic blood pressure and it remained
stable. But, Ms. Cottingham’s “heart rate did increase from 80 to 100 when going
from laying to standing.” Id. Dr. Crum determined that Ms. Cottingham was
dehydrated and assessed her with fainting. Dr. Crum recommended that Ms.
Cottingham increase her intake of fluids and eat breakfast. Dr. Crum commented,
“if these events continue to occur I would consider further evaluation at that time,
but do feel like [these] are likely two isolated events related to dehydration.” Id.;
JA 63-64.

       At this appointment for another episode of fainting, Dr. Crum did not
mention the HPV vaccination. Dr. Crum did not suggest that the HPV vaccination
contributed to Ms. Cottingham’s episodes of fainting.

                                    July 25, 2013

      Upon a referral from Dr. Simpson, Ms. Cottingham saw a pediatric
cardiologist, Waldemar Carlo. Ms. Cottingham told Dr. Carlo that she “had
several episodes of dizziness and passing out” beginning in March. Exhibit 3 at
111. With all the episodes, Ms. Cottingham “is standing or walking.” “She has
not had any dizziness or syncope with physical activity.” Id. Dr. Carlo performed
an electrocardiogram and echocardiogram. After testing, he determined that Ms.
Cottingham’s heart was structurally normal and functioning normally. Dr. Carlo
diagnosed her with vasovagal syncope and urged Ms. Cottingham to hydrate
aggressively. Id. at 112. Dr. Carlo specifically declined to schedule a follow-up
appointment but noted he would see her again if any new signs or symptoms
developed. Id.; JA 36, 65.
                                            32
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 33 of 71




      Dr. Carlo did not discuss the HPV vaccination in his note for this
appointment about dizziness and passing out. Dr. Carlo did not say that the HPV
vaccination might have caused Ms. Cottingham’s problems.

                                        May 14, 2015

       Ms. Cottingham’s mother called the pediatrician’s office to report that her
daughter had not had a menstrual cycle in six months. Ms. Cottingham’s mother
also stated that “the Gardasil series may have something to do with the recent
changes noted in [her daughter’s] menstrual cycle.” Exhibit 3 at 175. The nurse
advised Ms. Cottingham’s mother that “a note will be made.” Id.; JA 60.

      The medical record does not contain any response from a physician. No
record indicates that the pediatrician who received the note about the concern of
Ms. Cottingham’s mother thought that the HPV vaccination may have caused
changes in Ms. Cottingham’s menstrual cycle.

                                         Assessment

       The Secretary argues that Ms. Cottingham’s “medical records indicate that
none of her treating physicians implicated the Gardasil vaccine as contributing to
petitioner’s various complaints in any way.” Resp’t’s Br. at 7. This assessment
appears accurate.

       Nevertheless, Ms. Cottingham relies upon passages from the Federal Circuit.
See Pet’r’s Br. at 15. “Here, the record contains seven medical-examination
reports detailing [Ms. Cottingham’s] medical history that address injuries she
suffered. The Gardasil package insert links [her] injuries to adverse reactions
associated with Gardasil’s administration.” Cottingham, 917 F.3d at 1346. Ms.
Cottingham argues that these medical records “identify the exact conditions
alleged to have been triggered by the vaccination at issue. They are the exact
conditions reflected in the Gardasil product monograph, and they are the exact
conditions documented in the cited medical literature as constituting post-Gardasil
adverse events.” Pet’r’s Br. at 15.10



       10
          Ms. Cottingham’s assertion that the medical records document conditions “reflected in
the Gardasil product monograph” is partially correct. As discussed below, the product insert
does not discuss menstrual difficulties or dysautonomia.

                                                  33
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 34 of 71




      Because the treating doctors did not link any condition in Ms. Cottingham to
the HPV vaccination, the undersigned earlier stated that Ms. Cottingham produced
“no evidence” supporting causation. Third Decision, 2018 WL 3432638, at *5;
accord Resp’t’s Resp., filed Nov. 14, 2016, at 4; Resp’t’s Mot. for Rev., filed Jan.
10, 2018, at 14. However, on appeal, the Federal Circuit held that the “no
evidence” determination “rests on a clearly erroneous fact finding.” Cottingham,
971 F.3d at 1345.

       In light of the Federal Circuit’s vacatur and remand, the undersigned has
examined the seven records the Federal Circuit identified and looked to the totality
of the circumstances in evaluating the weight of this evidence to the question of
reasonable basis. These records show that at some time (in some instances many
many months) after the vaccination, Ms. Cottingham experienced health problems.
Thus, the sequence of events in which the vaccination preceded the onset of the
headaches, fainting, and menstrual problems makes it logically possible for Ms.
Cottingham to assert that the vaccination caused the headaches, fainting, and
menstrual problems. By way of contrast, if Ms. Cottingham had experienced a
pattern of headaches, fainting, and menstrual problems before the vaccination, then
she could not logically allege that the vaccination caused those problems. Locane
v. Sec’y of Health & Human Servs., 685 F.3d 1375, 1380-81 (Fed. Cir. 2012).
Under the guidance from the Federal Circuit, the undersigned recognizes that the
medical records showing Ms. Cottingham suffered maladies after the vaccination
constitute some evidence that is consistent with a finding of causation.

      In the context of determining whether petitioners are entitled to
compensation in which special masters look for preponderant evidence, numerous
cases have stated that a sequence of events in which the vaccination came before
the onset of the injury does not establish the causal relationship. The Federal
Circuit articulated this principle in one of the earliest cases from the Vaccine
Program at the Federal Circuit. Grant v. Sec’y of Health & Human Servs., 956
F.2d 1144, 1148 (Fed. Cir. 1992).

      While Grant resolved questions of entitlement, the same evidence of a
sequence of events in which the vaccination preceded the onset of a disease or
disorder was determined not to confer reasonable basis by itself. “Temporal
proximity is necessary, but not sufficient.” Chuisano v. United States, 116 Fed. Cl.




                                            34
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 35 of 71




276, 287 (2014). 11 “[T]o establish a reasonable basis for the claim, petitioner was
obliged to adduce medical evidence going to causation beyond temporal
proximity.” Bekiaris v. Sec’y of Health & Human Servs., 140 Fed. Cl. 108, 115
(2018).

       B.      Affidavit

       In addition to providing medical records created contemporaneously with
some events described in the medical records, Ms. Cottingham also submitted an
affidavit she signed on October 28, 2015. Exhibit 1 at 3. In some ways, Ms.
Cottingham’s testimony is consistent with information contained in the medical
records. For example, Ms. Cottingham avers that she received a dose of the HPV
vaccination on July 5, 2012. Id. ¶ 3.

        In other respects, Ms. Cottingham presents information that seems in tension
with the medical records created contemporaneously. She, for example, asserts
that in the weeks after November 1, 2012, she “began to experience episodes of
near black-outs where my vision became temporarily impaired.” Id. ¶ 5. The first
time Ms. Cottingham informed a doctor about blacking out was in conjunction
with the second fainting episode on May 23, 2013. It seems unlikely Ms.
Cottingham would nearly black-out repeatedly without telling a doctor. And when
Ms. Cottingham did inform a doctor about blacking out, Ms. Cottingham did not
tell the doctor that she was having these problems for months.



       11
          To some extent, the reasoning in Chuisano (that timing is necessary but not sufficient)
is inconsistent with the reasoning in Harding v. Sec’y of Health & Human Servs., 146 Fed. Cl.
381 (2019). Ms. Harding was suffering from a disease known as Wegener’s granulomatosis
(also known as granulomatosis polyangiitis) when she received doses of the HPV vaccine in
October and November 2014. 146 Fed. Cl. at 387-88. Within approximately three weeks of the
November 2014 dose, Ms. Harding’s condition was worse. Id. at 388. Ms. Harding alleged that
the vaccinations significantly aggravated her pre-existing disease, but eventually filed a motion
to dismiss her case voluntarily without filing an expert report.
        The special master found that Ms. Harding satisfied the reasonable basis standard
because, in part, “‘the medical records document[ed] a flare of an autoimmune disease shortly
after administration of a covered vaccine.’” Id. at 392 (quoting Harding v. Sec’y of Health &
Human Servs., No. 17-1580V, 2019 WL 3215974, at *7 (Fed. Cl. Spec. Mstr. June 18, 2019)).
The Court of Federal Claims ruled that the special master (1) considered the relevant evidence,
(2) drew plausible inferences, and (3) stated at rational basis for the outcome and, accordingly,
denied the Secretary’s motion for review. Id. at 404.

                                                   35
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 36 of 71




      The evidentiary value of Ms. Cottingham’s affidavit remains unsettled.
While Ms. Cottingham’s brief to the Federal Circuit emphasized her affidavit, see
Cottingham, 917 F.3d at 1346, the Federal Circuit did not rely upon her affidavit
when it stated that “[Ms. Cottingham’s] medical records paired with the Gardasil
package insert thus constitute at minimal circumstantial, objective evidence
supporting causation.” Id..

      C.     Package Insert

       The Federal Circuit remanded, in part, for the special master to evaluate the
package insert in determining whether a reasonable basis supported the claims set
forth in Ms. Cottingham’s petition. The Federal Circuit indicated that the package
insert, as part of the record, should have been analyzed explicitly. Before turning
to that evaluation, the undersigned provides context to illustrate how the Federal
Circuit has clarified the types of evidence that merit consideration.

             1.    Citations to Product Insert in this Litigation

       As discussed in the procedural history, Ms. Cottingham did not submit the
package insert during her case-in-chief regarding entitlement. She also did not file
the product monograph to support her argument regarding reasonable basis,
although Ms. Cottingham provided an internet link to it. Pet’r’s Mot. for
Attorneys’ Fees and Costs, filed Oct. 26, 2016, at 4. The Secretary, however,
provided a product monograph as exhibit A. Resp’t’s Resp., filed Nov. 14, 2016,
at 5 n.1. As mentioned in the December 14, 2020 oral argument, exhibit A is the
product monograph for Gardasil 9. Tr. 27. Ms. Cottingham did not receive this
vaccine. She received a quadrivalent version. Exhibit 3 at 100. However, the
“vaccines are manufactured similarly and contain the same antigens from HPV
types 6, 11, 16, and 18,” exhibit A at 9, and the parties appear to have overlooked
any difference between the two types of vaccines.

       Thereafter, the product monograph appears sporadically in briefing from Ms.
Cottingham. Ms. Cottingham did not cite the product monograph in briefs
associated with her first motion for review. See Pet’r’s Mot. for Rev., filed Apr.
27, 2017; Pet’r’s Reply, filed June 2, 2017. In defending the Second Fees Decision
against the Secretary’s motion for review, Ms. Cottingham relied upon the product
insert to show autonomic dysfunction occurring outside of a 15-minute window.
Pet’r’s Resp. to Mot. for Rev., filed Feb. 5, 2018, at 10. In challenging the Third
Fees Decision, which had found no reasonable basis, Ms. Cottingham did not cite
the product monograph. See Pet’r’s Mem. Supporting Pet’r’s 2d Mot. for Rev.,
                                              36
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 37 of 71




filed July 19, 2018; Pet’r’s Reply, filed Aug. 27, 2018. In sum, across five briefs
to the Court of Federal Claims filed in conjunction with three motions for review,
Ms. Cottingham alluded to the product monograph once.

       At the Federal Circuit, Ms. Cottingham argued that the product monograph
for the HPV vaccine “connect[s]” the HPV vaccine with “headache, nausea,
syncope, abdominal pain and dizziness.” Br. of Pet’r-Appellant, filed May 14,
2019, at 23. However, the Secretary did not respond to Ms. Cottingham’s assertion
by discussing the product monograph. See Br. of Resp’t-Appellee, filed June 5,
2019.

       In the Federal Circuit’s Opinion, the Federal Circuit ruled that the package
insert merited discussion. The Federal Circuit declared that “The Gardasil package
insert links [Ms. Cottingham] injuries to adverse reactions associated with
Gardasil’s administration.” Cottingham, 917 F.3d at 1346.

       In sending the case back to the special master, the Federal Circuit corrected
a legal error the undersigned made. Before Cottingham, the undersigned believed
that the evidence that could support a finding of reasonable basis consisted of
medical records or medical opinions. For a lengthy, if erroneous, discussion, see
Silva v. Sec’y of Health & Human Servs., No. 10-101V, 2012 WL 2890452 (Fed.
Cl. Spec. Mstr. June 22, 2012) (discussing 42 U.S.C. § 300aa–11(c)), mot. for rev.
denied, 108 Fed. Cl. 401 (2012); see also Carter v. Sec’y of Health & Human
Servs., No. 16-852V, 2018 WL 6322447, at *10 (Fed. Cl. Spec. Mstr. Oct. 16,
2018) (finding petitioner did not satisfy the reasonable standard when the child’s
treating doctors did not link vaccinations to developmental delay and petitioner did
not file an expert report). Under this erroneous understanding, the undersigned did
not discuss the package insert because the package insert constitutes neither a
“medical record” nor a “medical opinion.”

       Relatedly, the undersigned also understood that special masters could
disregard medical articles about which “there was not testimony offered by any
expert as to the validity or import of such article.” Cedillo v. Sec’y of Health &
Human Servs., 617 F.3d 1328, 1347 (Fed. Cir. 2010). Because neither Ms.
Cottingham nor the Secretary had supplied an expert to explain the significance of
the product monograph, it appeared that the product monograph was not a
meaningful aspect of Ms. Cottingham’s argument that a reasonable basis supported
the claims set forth in her petition. Cf. Moriarty v. Sec’y of Health & Human
Servs., 844 F.3d 1322, 1330-31 (Fed. Cir. 2016) (requiring special master to
address articles to which an expert referred in his report). However, the Federal
                                              37
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 38 of 71




Circuit has corrected the undersigned’s misapprehension. Pursuant to its Opinion
in Cottingham, the parties may introduce evidence, potentially favoring or
potentially undermining a finding of reasonable basis for the claims set forth in the
petition, that is not a medical record or a medical opinion.

      After the Federal Circuit’s correction, the undersigned directed the parties to
discuss the product inserts. Order, issued Oct. 15, 2020, ¶ 7. The parties
responded in their briefs. Given this history of how the product insert was used
and not used in Ms. Cottingham’s case, the undersigned next discusses how
product inserts are created.

              2.     Creation of Product Inserts12

      Before a manufacturer can sell a prescription drug, the Food and Drug
Administration (“FDA”) must approve it. 21 U.S.C. § 355(a). The FDA
determines whether the drug is both effective and safe. 21 U.S.C. § 360c(a)(1)(C).

       The process by which the FDA investigates the effectiveness and safety of a
new drug begins when the manufacturer submits a “new drug application.” The
manufacturer submits “adequate and well-controlled investigations, including
clinical investigations, by experts qualified by scientific training and experience.”
21 U.S.C. § 355(d). These investigations occur through a series of clinical trials
(commonly known as “phase I,” “phase II,” and “phase III”), in which the number
of human participants expands. 21 C.F.R. § 312.21. Some drugs also undergo a
“phase IV” or post-marketing trial.

       The process of FDA approval includes a review of the drug’s labeling. The
FDA defines the content and format of labeling. 21 C.F.R. § 201.56. The label, in
turn, must present information about contraindications, warnings and precautions,
and adverse reactions. In the context of labels for prescription drugs, “an adverse
reaction” is “an undesired effect, reasonably associated with the use of the drug,
that may occur as part of the pharmacological action of the drug or may be
unpredictable in its occurrence.” 21 C.F.R. § 201.57(c)(7). The FDA
distinguishes “adverse reactions” from “adverse events.” The requirement to


       12
          Information is primarily drawn from James M. Beck & Anthony Vale, Drug and
Medical Device Product Liability Deskbook § 4.01 (ALM 2004). The undersigned also relies, in
part, upon the “accumulated expertise” in learning about the FDA process for approving vaccines
in many hearings.

                                                 38
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 39 of 71




report “adverse reactions” is limited to “only those adverse events for which there
is some basis to believe there is a causal relationship between the drug and the
occurrence of the adverse event.” Id.; see also 44 Fed. Reg. 37434, 37447 (June
29, 1979) (defining “reasonable evidence of association” as evidence “on the basis
of which experts qualified by scientific training and experience can reasonably
conclude that the hazard is associated with the drug”). 13

       As part of the label’s section on “adverse reactions,” the manufacturer must
distinguish between adverse reactions observed in clinical trials and adverse
reactions gained in the post-marketing experience. 21 C.F.R. § 201.57(c)(7)(ii).
After the FDA approves a prescription drug or biological product, a licensed
manufacturer is required to report to the FDA any “adverse experience
information.” 21 C.F.R. § 600.80(c). The term “adverse experience” means “Any
adverse event associated with the use of a biological product in humans, whether
or not considered product related, including the following: An adverse event
occurring in the course of the use of a biological product in professional practice.”
21 C.F.R. § 600.80(a).

       While manufacturers must report adverse experiences associated with its
product to the FDA, “[a] report or information submitted by a licensed
manufacturer . . . does not necessarily reflect a conclusion by the licensed
manufacturer or FDA that the report or information constitutes an admission that
the biological product caused or contributed to an adverse effect.” 21 C.F.R.
§ 600.80(l).

      Manufacturers, however, are not the only entities that may report adverse
events. Healthcare professionals and consumers may also report adverse events to
the FDA. When healthcare professionals and consumers report adverse events to a
manufacturer, the manufacturer is required to submit the report to the FDA. 21
C.F.R. § 600.80(c)(1)(iii).




       13
        The FDA’s standard is not the same as the standard used in civil litigation because the
FDA attempts to prevent the public from exposure to harmful substances. Glastetter v. Novartis
Pharm. Corp., 252 F.3d 986, 991 (8th Cir. 2001) (applying Missouri law).

                                                  39
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 40 of 71




              3.     Precedent regarding Product Inserts in the Vaccine Program

      In different settings, judicial officers have discussed the value of FDA-
required manufacturer’s inserts and associated regulations. 14 Special masters have
considered whether product inserts can support an expert’s opinions that a vaccine
can cause a condition.

       Consequently, the cases discussed below do not match the exact
circumstances of Ms. Cottingham’s case in at least two respects. Here, the only
evidence regarding the product insert is the product insert. There are no experts.
No one has submitted testimony about the product inserts. Second, Ms.
Cottingham is attempting to establish the reasonable basis for the claim set forth in
her petition. The evidentiary standard for reasonable basis is, as set forth above,
lower than the preponderance of the evidence standard. Nevertheless, other
judicial officials’ considerations in evaluating the evidentiary value of product
inserts are informative here to the extent that cases look at the post-marketing
adverse events portion of product inserts.

       The Secretary cites multiple cases supporting the conclusion that statements
in package inserts do not constitute reliable evidence of causation and should not
be considered admissions on the part of the manufacturers that a given product can
or does cause a given injury. However, all but one of the cases cited by respondent
ultimately rely on the statement in Werderitsh v. Secretary of Health & Human
Services that “federal regulations specifically preclude the contents of drug product
labels . . . from serving as admissions regarding causation.” No. 99-319V, 2005
WL 3320041, at *8 (Fed. Cl. Spec. Mstr. Nov. 10, 2005).

       Werderitsh arose in a much different context. In that case, the petitioner
sought to compel the production of VAERS files. Id. at *1. The petitioner
contended, among other points, that the sought VAERS files underlie the entries in
the Physician’s Desk Reference. Id. at *8. (The Physician’s Desk Reference, in
turn, reproduces the FDA-approved product inserts. Id. at *8 n.22.) The petitioner
apparently reasoned that the VAERS reports would shore up the “admissions” the
government allegedly made in adopting the product insert. The special master


       14
         The Federal Circuit touched upon these regulations in the context of safe harbor
provisions. See Momenta Pharms., Inc. v. Amphastar Pharms., Inc., 686 F.3d 1348, 1358 (Fed.
Cir. 2012).

                                                40
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 41 of 71




rejected this argument because any information derived from VAERS reports
would not constitute an admission from the government.

      Although not expressly explained in Werderitsh, VAERS reports constitute a
form of post-marketing experience. As a type of post-marketing information, the
VAERS reports and any information communicated in the product insert based
upon the VAERS reports would not constitute an admission that the vaccine
caused an injury described in a VAERS report. 21 C.F.R. § 600.80. Werderitsh
did consider statements that appear in the product insert as a result of clinical trials.

        The Secretary relies heavily on the statement in Sullivan v. Secretary of
Health & Human Services that “[s]tatements contained in vaccine package inserts
do not constitute reliable proof of causation, and cannot be deemed admissions that
the vaccine in question has the capacity to harm a particular petitioner in a specific
manner.” No. 10-398V, 2015 WL 1404957, at *20 (Fed. Cl. Spec. Mstr. Feb. 13,
2015). This conclusion was derived directly from the preceding statement in
Werderitsh but applied generally to “package inserts.” The other cases cite to
Sullivan and/or Werderitsh for this proposition. While some cases apply it to the
general term “package inserts,” encompassing clinical trial information and post-
marketing reported events, see Carter v. Sec’y of Health & Human Servs., No. 16-
852V, 2018 WL 6322447, at *8 n.10 (Fed. Cl. Spec. Mstr. Oct. 16, 2018);
Rolshoven v. Sec’y of Health & Human Servs., No. 14-439V, 2018 WL 1124737,
at *20 (Fed. Cl. Spec. Mstr. Jan. 11, 2018); Morris v. Sec’y of Health & Human
Servs., No. 13-601V, 2017 WL 2461226, at *11 (Fed. Cl. Spec. Mstr. May 9,
2017), some apply the statement to post-marketing adverse events only, see
Mondello v. Sec’y of Health & Human Servs., No 15-972V, 2018 WL 947449, at
*11 (Fed. Cl. Spec. Mstr. Jan. 24, 2018) (applying the statement in a context
involving reported adverse events); Bender v. Sec’y of Health & Human Servs.,
No. 11-693V, 2018 WL 3679637, at *1 (Fed. Cl. July 2, 2018), mot. for rev.
denied, 141 Fed. Cl. 262 (2019) (applying the statement in the context of
determining reliability of VAERS reports). None of these cases apply this
statement of unreliability explicitly to clinical trials information contained in the
product insert.

      A nuanced analysis of the product insert would distinguish between, on the
one hand, information provided in the sections for “contraindications,” “warnings
and precautions,” and “adverse reactions” from clinical trials and, on the other
hand, information provided in the post-marketing experience. The three former
sections (sections 4, 5, and 6.1) comprise a notice from the vaccine manufacturer

                                              41
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 42 of 71




that some scientific basis supports a conclusion that the vaccine caused the listed
problem. 21 C.F.R. § 201.57(c)(7). In contrast, the manufacturer’s presentation of
problems in the section on post-marketing experience (section 6.2) does not
necessarily reflect a scientific basis.

             4.    Product Insert for HPV Vaccine

        In this case, the more meaningful sections of the product insert provide a
sliver of support for Ms. Cottingham’s argument that the HPV vaccination harmed
her. The product manufacturer warns that “Because vaccinees may develop
syncope, sometimes resulting in falling with injury, observation for 15 minutes
after administration is recommended.” Exhibit A at 3 (section 5.1). In clinical
trials, some women reported having headaches within 15 days after the
vaccination. Id. at 6.

      The less valuable section of the product insert, the report on post-marketing
experience, lists more than 20 conditions spread across nine categories. The
category “nervous system disorders” includes “headache” and “syncope (including
syncope associated with tonic-clonic movements and other seizure-like activity).”
Exhibit A at 9-10.

      The manufacturer’s insert does not contain any information linking the HPV
vaccine to menstrual difficulties. See Tr. 31. It also does not list the HPV vaccine
as causing dysautonomia or autonomic dysfunction by name. See Tr. 32.

      D.     Medical Articles

       “Medical articles,” in this context differ from the product insert. As
explained above, the Secretary filed the product insert as exhibit A, and the product
insert, accordingly, was in the record before the Federal Circuit. But, Ms.
Cottingham only cited various articles and did not file them into the record before
the appeal to the Federal Circuit. Thus, the Federal Circuit did not explicitly direct
a consideration of these articles in its Order.

      After the remand, Ms. Cottingham filed five articles, discussed below. The
Secretary acquiesced to their inclusion by not filing a motion to strike. See
Resp’t’s Br. at 12. Accordingly, the parties were directed to address the articles.
Order, issued Oct. 15, 2020, ¶¶ 8-9.

      Ms. Cottingham refers to her June 2, 2017 reply in support of her first
motion for review, which is CM/ECF entry 53. Pet’r’s Br. at 9. In that reply, Ms.
                                           42
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 43 of 71




Cottingham argued that the Martinez-Lavin, Kinoshita, and Brinth articles
connected the human papillomavirus vaccine to autonomic dysfunction. She
maintains that position in her current brief, asserting that “Autonomic dysfunction
(dysautonomia) has been connected to vaccination, particularly Gardasil.” Pet’r’s
Br. at 9. In the December 14, 2020 oral argument, Ms. Cottingham explained that
she offered the articles for the limited purpose of showing that her claim is “not
novel.” Tr. 37. She has presented, in her words, “a bunch of case reports” that
resemble her situation. Id. at 38. Ms. Cottingham maintains that the similarities
between the facts of her case and the reports in articles she cited bolsters her
contention that a reasonable basis supports the claims set forth in her petition.

       The Secretary makes multiple arguments against the value of the articles.
Resp’t’s Br. at 12-13. One argument is that four articles discuss conditions with
which Ms. Cottingham was not diagnosed. Id. at 13. The Secretary maintained
that “There is no evidence in the medical records of [Ms. Cottingham] being
diagnosed with autonomic dysfunction.” Id. at 7. Another general argument is
that the articles need to be tied to the facts of Ms. Cottingham’s case. Tr. 38-39.

                                     Review of Articles

       To address the value of the five medical articles Ms. Cottingham submitted,
each is reviewed below. The sequence begins with the earliest published article.

       S. Blitshteyn reported “six previously healthy young women [who]
developed symptoms of POTS [postural orthostatic tachycardia syndrome] within
6 days to 2 months after immunization with Gardasil vaccine.” S. Blitshteyn,
Postural tachycardia syndrome following human papillomavirus vaccination, 21
Euro. J. Neuro. 135 (2014), filed as exhibit 14, at 138. In addition to being
diagnosed with POTS, three of the patients also had neurocardiogenic syncope. Id.
Dr. Blitshteyn concluded “Further studies are necessary to investigate whether
there is a causal relationship.” Id. at 139.15




       15
          Dr. Blitshteyn has participated in Vaccine Program proceedings as an expert witness.
See McCulloch v. Sec’y of Health & Human Servs., No. 09-293V, 2015 WL 3650610 (Fed. Cl.
Spec. Mstr. May 22, 2015) (finding petitioner was entitled to compensation); Turkupolis v. Sec’y
of Health & Human Servs., No. 10-351V, 2014 WL 2872215, at *21 (Fed. Cl. Spec. Mstr. May
30, 2014) (denying compensation and stating “Dr. Blitshteyn proffers her conclusion and then
                                                  43
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 44 of 71




        The Blitshteyn article describes patients as suffering headaches and
neurocardiogenic syncope after HPV vaccination. According to Ms. Cottingham,
it offers some support for the reasonable basis of her claim that the HPV
vaccination caused her to suffer headaches and fainting. Tr. 42. However, with
regard to headaches and fainting, the subjects in the Blitshteyn article experienced
those problems much closer in time to the vaccination than Ms. Cottingham. See
exhibit 14 at 136 (table 1 listing onset of various problems between two weeks and
two months after the vaccination). The Blitshteyn article does not help with Ms.
Cottingham’s claim for menstrual problems and dysautonomia. Tr. 46.

       Kinoshita and colleagues observed that over the course of approximately
nine months, they treated 40 girls, who complained that they had symptoms after
receiving a vaccination against human papillomavirus. (About one-quarter of this
population received the same brand, Gardasil, as Ms. Cottingham received.) The
average age of this population was 13.7 years. Tomomi Kinoshita et al.,
Peripheral Sympathetic Nerve Dysfunction in Adolescent Japanese Girls
Following Immunization with the Human Papillomavirus Vaccine, 53 Internal
Medicine 2185 (2004), filed as exhibit 13, at 2.

      These patients reported various symptoms. The most common symptom
was headaches, followed by general fatigue. Orthostatic fainting and disturbed
menstruation were also reported. Id. “The average incubation period after the first
dose of vaccine was 5.47±5.00 months.” Id. Kinoshita and colleagues diagnosed
most of the young girls as suffering from chronic regional pain syndrome and/or
orthostatic problems. Id. at 10; see also id. at 13 (table 5).

      With respect to etiology, “[b]ased on the temporal relationship between
immunization and the development of symptoms, [the authors] cannot deny the
possibility that immunization with HPV vaccines may secondarily induce
sympathetically mediated disorders, including CRPS-I [chronic regional pain
syndrome], OH [orthostatic hypotension] and POTS [postural tachycardia
syndrome].” Id. at 15. They concluded: “Studies with large-scale investigations
and experimental approaches are needed to further answer these questions.” Id.




speculates it must be because it happens to other people with diseases that petitioner does not
have. Speculation is unacceptable as credible proof.”).

                                                    44
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 45 of 71




       Ms. Cottingham downplayed the diagnoses given to the patients in the
Kinoshita article, calling them “labels.” Tr. 49. Ms. Cottingham viewed the
symptoms that Kinoshita and colleagues reported as more germane to her
argument. Accordingly, Ms. Cottingham pointed out that more than half the
population in the Kinoshita review reported headaches. Tr. 48. Ms. Cottingham
also emphasized that the average temporal interval “5.47 months” was “peg[ged]”
to her case. Tr. 52, 85.

       Blitshteyn and Kinoshita were included in the introductory section of
Brinth. Louise S. Brinth et al., Orthostatic intolerance and postural tachycardia
syndrome as suspected adverse effects of vaccination against human
papillomavirus, 33 Vaccine 2602 (2015), filed as exhibit 12, at 2602. The Brinth
team evaluated 35 patients who had been referred to their syncope unit for further
evaluation for “a suspected adverse event following vaccination with the
quadrivalent HPV vaccine.” Id. The 35 females had an average age of 23.3 years.
“The mean delay between vaccination and onset of symptoms was 9.3 days (range:
0–30).” Id. “Mean time between onset of symptoms and examination was 1.9
years (range: 0–5).” Id. After testing, the researchers determined that 60 percent
of the group suffered from POTS. Id. at 2604. The authors proposed their group
might “possibly constitut[e] a post vaccination syndrome on an autoimmune basis
in a specific group of young women.” Id.

       Brinth and colleagues acknowledged three limitations to their study. The
first was a “lack of a control group.” Id. The second was “the long and variable
delay between the onset of symptoms and orthostatic testing.” Id. The third was
the use of a ten-minute tilt-table test might miss other forms of chronic orthostatic
intolerance. The authors concluded that: “Our findings do not confirm or dismiss a
causal link to the HPV-vaccine—but suggest that further research is urgently
warranted.” Id.

      Ms. Cottingham argued that like the Kinoshita article, the Brinth article
supported Ms. Cottingham’s presentation of symptoms. Tr. 51. However, Ms.
Cottingham acknowledged that average latency between vaccination and the onset
of symptoms in Brinth (9.3 days) was much different from the average reported in
Kinoshita and much different from her experience. Tr. 52.

      The next article, Martinez-Lavin, starts with observations from Blitshteyn,
Kinoshita, and Brinth, as well as others. The Martinez-Lavin article proposed “as
a hypothesis that small fiber neuropathy may also explain the pain and autonomic
dysfunction seen in post HPV vaccination syndrome.” Manuel Martinez-Lavin,
                                            45
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 46 of 71




Hypothesis: Human papillomavirus vaccination syndrome—small fiber neuropathy
and dysautonomia could be its underlying pathogenesis, 34 Clin. Rheumatol. 1165
(2015), filed as exhibit 11, at 3. In oral argument, Ms. Cottingham recognized that
she was not diagnosed as suffering from small fiber neuropathy. Tr. 54. This
concession reduces the value of the Martinez-Lavin article.

       The most recently published article is by Kazuki Ozawa and colleagues.
Kazuki Ozawa et al., Suspected Adverse Effects After Human Papillomavirus
Vaccination: A Temporal Relationship Between Vaccine Administration and the
Appearance of Symptoms in Japan, 40 Drug Saf. 1219 (2017), filed as exhibit 15.
These researchers built upon their earlier report, Kinoshita, which is reference 10
in Ozawa. The purpose of Ozawa’s work was “to clarify the temporal relationship
between human papillomavirus vaccination and the appearance of post-vaccination
symptoms.” Id. at 1. For this study, Ozawa and group created a set of diagnostic
criteria. However, the validity and reliability of the newly created diagnostic
criteria “have not been established.” Id.

       In oral argument, when asked whether Ozawa constituted “reliable”
evidence pursuant to Vaccine Rule 8(b)(1), Ms. Cottingham maintained that
Ozawa was reliable “for the purpose for which this article is being offered.” Tr.
55. The purpose of the article, in turn, is that Ozawa “details the syndrome of
symptoms that you may see following” the HPV vaccine. Tr. 56. The Secretary
asserted that the Ozawa article cannot be relied upon. Tr. 60.

       Using their diagnostic criteria, Ozawa and colleagues diagnosed 30 patients
with “definite vaccine-related symptoms” and another 42 patients with “probable”
vaccine-related symptoms. Exhibit 15 at 1. This group of 72 patients came from a
starting group of 163 patients. Id. The average age at vaccination for these 72
patients was 13.6 years. “The time to onset after the first vaccine dose ranged from
1 to 1532 days (average 319.7 ± 349.3 days).” Id.

       The researchers asked the participants to answer questionnaires, obtained
medical records from other facilities when available, and conducted tests on the
participants. Id. at 3. “Symptoms or signs frequently observed in these 72 girls
were prolonged general fatigue, chronic headache, widespread pain, limb shaking,
dysautonomic symptoms, motor dysfunction, abnormal sensation, sleep
disturbance, learning impairment, and menstrual abnormality.” Id. at 5.
“Dysautonomic symptoms included frequent squatting or syncope during their
daily activities.” Id.

                                            46
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 47 of 71




      The Ozawa researchers recognized some limitations in their study. These
included not having a control group and having a relatively small number of
subjects, all of whom were referred to the authors. Id. at 9. The authors stated that
“HPV vaccination is temporally related to the development of these symptoms in
Japanese adolescent girls. Further large-scale studies are required to clarify the
pathophysiology of these symptoms.” Id. at 9.

       Ms. Cottingham offered the Ozawa article for the limited purpose of
showing that her report of symptoms after receiving the HPV vaccine was typical.
Tr. 55-56. Ms. Cottingham explicitly disclaimed any reliance on Ozawa’s report
of temporality, which extended from 1 to 1532 days. Tr. 62. As the Secretary
pointed out, 1532 days is more than 4 years after vaccination. Tr. 60. Ms.
Cottingham’s attorney acknowledged that he would not endorse a claim that the
HPV vaccination caused an injury appearing “3 years” after vaccination. Tr. 53.
However, the attorney was not asked to reconcile this position with the information
in the Ozawa article.

                          Cases Evaluating these Articles

       The “accumulated expertise” on which special masters may rely in deciding
cases, see Whitecotton v. Sec’y of Health & Human Servs., 81 F.3d 1099, 1104
(Fed. Cir. 1996), includes an awareness of how issues have been resolved
previously. These previous dispositions are not binding. Boatmon v. Sec’y of
Health & Human Servs., 941 F.3d 1351, 1358-59 (Fed. Cir. 2019). But the non-
binding value of those informed considerations should not negate their value,
especially when the parties have not presented any testimony from an expert about
the articles.

        In general, special masters have found this set of articles not sufficiently
persuasive to assist any petitioners in meeting their burden to show, by a
preponderance of the evidence, the HPV vaccine can cause different injuries. A
thorough analysis appears in Balasco v. Secretary of Health & Human Services,
No. 17-215V, 2020 WL 1240917 (Fed. Cl. Spec. Mstr. Feb. 14, 2020).
Represented by Mr. Downing, Julia Balasco alleged that the HPV vaccine caused
her to suffer “autonomic dysfunction, postural orthostatic tachycardia syndrome
(POTS), fibromyalgia, and orthostatic intolerance (OI).” Id. at *1. To advance her
claim, Ms. Balasco submitted reports from Yehuda Shoenfeld and Mitchell Miglis.
Id. at *2. (Dr. Shoenfeld and Dr. Miglis have testified for petitioners in other cases
as well.) The Secretary opposed the claim and offered contrary reports.

                                             47
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 48 of 71




       After considering the five articles discussed above as well as additional
evidence, the special master did not find “preponderant evidence of any HPV
Syndrome or that the above-discussed literature, considered individually or as a
whole, provides a basis for [Ms. Balasco] to assert a claim for an adverse reaction
to her HPV vaccine.” Id. at *32. In addition, the special master rejected Ms.
Balasco’s argument that she satisfied the Ozawa criteria. Id. at *29.

       In Johnson v. Secretary of Health & Human Services, No. 14-254V, 2018
WL 2051760 (Fed. Cl. Spec. Mstr. Mar. 23, 2018), the special master reached a
similar conclusion. In Johnson, the special master heard testimony from Dr.
Shoenfeld and Kenneth Mack, a doctor the Secretary had retained, regarding Ms.
Johnson’s claim that she suffered a variety of injuries, including POTS. In
reference to the Blitshteyn, Brinth, Kinoshita, and Ozawa articles, the special
master found that “Dr. Mack convincingly explained in particular why many of the
items of literature that relied on such case study data were untrustworthy—the
studied subjects voluntarily had sought treatment for their orthostatic symptoms,
making the studied group too self-selected to draw conclusions from correlations
observed with respect to that population.” Id. at *24.

       Other cases have refrained from crediting the articles Ms. Cottingham
advances, though with less robust analyses. See Yalacki v. Sec’y of Health &
Human Servs., No. 14-278V, 2019 WL 1061429, at *14 n.21 (Fed. Cl. Spec. Mstr.
Jan. 31, 2019) (mentioning Dr. Shoenfeld’s reliance on the Martinez-Lavin article
despite the petitioner’s lack of small fiber neuropathy); Combs v. Sec’y of Health
& Human Servs., No. 14-878V, 2018 WL 1581672, at *18 (Fed. Cl. Spec. Mstr.
Feb. 15, 2018) (finding the Kinoshita article not persuasive because it involved “a
very limited number of case studies”). The undersigned identified only one case in
which this set of articles was filed and the petitioner was found entitled to
compensation. But, in that case, the petitioner’s expert disclaimed any reliance on
an autonomic injury. See B.A. v. Sec’y of Health & Human Servs., No. 11-51V,
2018 WL 6985218, at *27-29 (Fed. Cl. Spec. Mstr. Dec. 6, 2018) (finding
petitioner established that the HPV vaccination caused her headaches via
molecular mimicry).

       Balasco and Johnson point out that essentially, the Blitshteyn, Brinth,
Kinoshita, and Ozawa articles present a series of case reports. Although the
articles, particularly the Ozawa article, discuss findings on more than an isolated
case, the articles all suffer from a lack of control group. Case reports provide little,
if any, value to an analysis of causation. See Porter v. Sec’y of Health & Human

                                              48
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 49 of 71




Servs., No. 99-639V, 2008 WL 4483740, at *13 (Fed. Cl. Spec. Mstr. Oct. 2,
2008), set aside on other grounds by Rotoli v. Sec’y of Health & Human Servs., 89
Fed. Cl. 71 (2009), reinstated, 663 F.3d 1242, 1254 (Fed. Cir. 2012) (stating the
“special master’s decision reveals a thorough and careful evaluation of all of the
evidence, including . . . reports and medical literature”); W.C. v. Sec’y of Health &
Human Servs., No. 07-456V, 2011 WL 4537887, at *13 (Fed. Cl. Spec. Mstr. Feb.
22, 2011) (“[C]ase reports are generally weak evidence of causation because [they]
cannot distinguish a temporal relationship from causal relationship.”), mot. for rev.
denied, 100 Fed. Cl. 440 (2011), aff’d, 704 F.3d 1352 (Fed. Cir. 2013). Given the
methodological limitations that are contained within the text of the articles, the
undersigned cannot give these articles more than a trifle of weight.

       But, even the very small value of these articles diminishes in the context of
Ms. Cottingham’s claim. As the Secretary argues, see Resp’t’s Br. at 12-13, Ms.
Cottingham does not suffer from the conditions primarily discussed in those
articles. Blitshteyn investigated six young women who suffered from POTS.
Exhibit 14 at 138. Orthostatic problems and chronic regional pain syndrome were
the primary diagnoses in Kinoshita. Exhibit 13 at 10. In Brinth, 60 percent of the
subjects suffered from POTS. Exhibit 12 at 2604. Martinez-Lavin proposed that
autonomic dysfunction was explained by small fiber neuropathy. Exhibit 11 at 3.
However, Ms. Cottingham has not presented any evidence that she suffers from
POTS, chronic regional pain syndrome, orthostatic problems, or small fiber
neuropathy. Ms. Cottingham has also not presented any evidence (as opposed to
attorney argument) for why, for example, an article about chronic regional pain
syndrome informs an analysis of the reasonable basis for a claim that a vaccination
caused her to suffer, for example, syncope.16

V.     Assessment of Whether Reasonable Basis Supports the Claims Set forth
in the Petition

      Having evaluated the evidence Ms. Cottingham and the Secretary submitted,
the undersigned next turns to determining whether, based on the totality of the
circumstances, Ms. Cottingham supported the claims set forth in her petition. Ms.
Cottingham’s October 30, 2015 petition asserted that the HPV vaccination caused


       16
          Conceivably, an expert might be able to connect the dots. However, speculating about
what could have happened would violate the requirement in Simmons to evaluate objective
evidence.

                                                 49
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 50 of 71




her four different problems. The easiest to evaluate is the claim that the HPV
vaccination caused Ms. Cottingham to suffer dysautonomia. Thus, that condition
is evaluated first in section A below. The remaining three conditions are evaluated
on the basis by which Ms. Cottingham began to experience the condition, starting
with the earliest. The claim that the HPV vaccination caused Ms. Cottingham to
have headaches is in section B below. The claim regarding fainting is in section C
below. The claim regarding menstrual difficulties is in section D below.

      A.     Dysautonomia

       The petition asserts “[Ms. Cottingham]’s mom decided that she did not want
[her] to have any further Gardasil shots due to a potential connection with
autonomic dysfunction, and declined them at [her] July 7, 2013 annual physical.”
Pet. ¶ 8. The citation for this assertion is Ms. Cottingham’s affidavit, exhibit 1.

      Ms. Cottingham’s annual physical was actually July 10, 2013. Exhibit 3 at
96-98. During this appointment, Dr. Simpson (a pediatrician) discussed the two
episodes of fainting and recommended that she eat breakfast and drink regularly.
He also referred Ms. Cottingham to a pediatric cardiologist. The records from this
appointment do not refer to Ms. Cottingham as possibly suffering from autonomic
dysfunction. Id. Likewise, Ms. Cottingham’s affidavit to which the petition refers
does not use the term “autonomic dysfunction,” although the affidavit otherwise
discusses a July 7, 2013 physical examination. See exhibit 1 ¶ 14.

       The October 15, 2020 order directed Ms. Cottingham to specify the claims
for which the petition was brought and to identify the evidence showing that Ms.
Cottingham suffered from those conditions. Order, issued Oct. 15, 2020, ¶¶ 5-6.
In response, Ms. Cottingham stated that the “‘claim for which the petition was
brought’ includes autonomic dysfunction manifesting as headaches,
lightheadedness described as near black-outs, syncope, and menstrual problems.”
Pet’r’s Br. at 6. She continued: “These can constitute separate conditions or well-
documented symptoms of her overarching condition of autonomic dysfunction.”
Id. In oral argument, Ms. Cottingham’s attorney, Mr. Downing, amplified his
perspective about Ms. Cottingham’s diagnosis. Mr. Downing stated: “I do think
that she has dysautonomia.” Tr. 47. The Ozawa article attempts “to define the
syndrome by a collection of symptom sets in the body systems that appear to be
disconnected, but they’re not.” Tr. 56; accord Tr. 138.

      In contrast, the Secretary responded: “There is no evidence in the medical
records of petitioner being diagnosed with autonomic dysfunction.” Resp’t’s Br. at
                                            50
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 51 of 71




7. The Secretary rejected Mr. Downing’s attempt to diagnose Ms. Cottingham as
suffering from dysautonomia or a syndrome because doctors who treated her are
“the more reliable source for what is going on with Ms. Cottingham.” Tr. 77.

      Establishing that the vaccinee suffers from the condition a vaccination
allegedly caused is a fundamental aspect of a claim. Broekelschen v. Sec’y of
Health & Human Servs., 618 F.3d 1339, 1346 (Fed. Cir. 2010).

       Here, even under a standard of proof that is less than the preponderance of
the evidence standard, Ms. Cottingham has not presented a reasonable basis for the
petition’s claim that she suffered “autonomic dysfunction.” 17 The crucial point is
that Ms. Cottingham presented no evidence in which a doctor diagnosed her as
suffering from “autonomic dysfunction.” Even the petition states that Ms.
Cottingham’s mother was concerned about “a potential connection with autonomic
dysfunction.” Pet. ¶ 8. The petition does not elaborate on the basis for Ms.
Cottingham’s mother’s concern.

       The belief of Ms. Cottingham’s mother, regardless of its foundation, seems
to be a subjective quality that falls into the category of “good faith.” By way of
contrast, Ms. Cottingham’s mother’s worry about “autonomic dysfunction” is not a
form of “objective evidence” on which decisions about reasonable basis turn. Ms.
Cottingham’s attorney points to headaches in the context of a diagnosed viral
infection approximately four months after vaccination, two episodes of fainting
reported in the medical records in the context of being dehydrated and not eating
approximately eight and ten months after vaccination, and menstrual difficulties
beginning five months after the second vaccination, as evidence of a sequence of
symptoms amounting to autonomic dysfunction. However, the perception of Ms.
Cottingham’s attorney that the series of symptoms Ms. Cottingham experienced
actually constitute a syndrome is also not grounded in sufficient objective evidence
to have a reasonable basis. Cf. Rothschild Connected Devices Innovations, LLC v.
Guardian Prot. Servs., Inc., 858 F.3d 1383, 1389 (Fed. Cir. 2017) (stating, in the


       17
          In the context of determining whether a petitioner was entitled to compensation, a
special master evaluated the articles on which Ms. Cottingham is relying and found a lack of
persuasive evidence “establishing ‘HPV syndrome’ as a cognizable injury.” Balasco v. Sec’y of
Health & Human Servs., No. 17-215V, 2020 WL 1240917, at *30 (Fed. Cl. Spec. Mstr. Feb. 14,
2020). Balasco does not control the outcome of Ms. Cottingham’s case because it was a decision
about entitlement, not reasonable basis and because Ms. Cottingham’s petition does not set forth
the claim that she suffered from “HPV syndrome.”

                                                  51
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 52 of 71




context of finding that a district court abused its discretion in not finding a patent
case exceptional, “[t]he conclusory and unsupported statements from Rothschild’s
counsel and founder that claim 1 of the ‘090 patent is valid have no evidentiary
value”). The critical factor is that a person with a medical degree, who has the
training and experience to diagnose medical problems, did not diagnose Ms.
Cottingham with autonomic dysfunction. Ms. Cottingham has not cited, and
independent research has not located, any Vaccine Program case in which a non-
medically trained petitioner’s opinion regarding diagnosis has been credited.
Without any evidence from a person qualified to diagnose diseases, Ms.
Cottingham’s assertion that she suffered autonomic dysfunction amounts to
“unsupported speculation.” See Perreria, 33 F.3d at 1377.

      B.     Headaches

      The petition alleges that the HPV vaccine caused Ms. Cottingham to
experience headaches. Pet. ¶ 4. According to the petition, on November 1, 2012,
Ms. Cottingham “began to have headaches unlike anything she experienced
before.” Id. November 1, 2012 is approximately four months after Ms.
Cottingham received the HPV vaccination on July 5, 2012. Exhibit 3 at 99-100
(vaccination record).

      The petition’s assertion that Ms. Cottingham’s problems began on
November 1, 2012, is supported by her affidavit. Exhibit 1. However, the first
medical records created after the vaccination indicate that Ms. Cottingham’s
pediatrician was informed, on November 30, 2012, that Ms. Cottingham had
headaches “off and [on] all week.” Exhibit 3 at 87. Whether Ms. Cottingham’s
headaches began around November 23, 2012, as suggested in the pediatrician’s
November 30, 2012 medical record or Ms. Cottingham’s headaches began about
three weeks earlier as suggested in her affidavit does not affect the outcome. Even
under Ms. Cottingham’s version of events, her headaches began approximately
four months after the vaccination.

       The latency between the vaccination and the onset of headaches influences
the outcome to a great degree. Through the package insert, Ms. Cottingham has
presented some evidence that the HPV vaccination can cause headaches. But, as
the Secretary argues, see Resp’t’s Br. at 10, the package insert indicates that the
clinical trials link the vaccination to headaches that occur within 15 days of the
vaccination. Specifically, the manufacturer reported that among a population of
approximately 7,000 women aged 16-26 years old who received the Gardasil
vaccine, 13.7 percent reported headaches within 1 to 15 days. Exhibit A at 6 (table
                                              52
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 53 of 71




2).18 Thus, within the “adverse reports” section, the manufacturer included, among
other problems, “headaches.” Id. at 1.19 Thus, the evidence supports a finding at
the lower-than-preponderance standard, that Ms. Cottingham possessed a
reasonable basis for alleging that the HPV vaccine can cause headaches.

       After a petitioner demonstrates that some evidence supports a finding that
there is a reasonable basis for alleging that the vaccine can cause an injury, the
next step is to consider whether the injury arose in an “appropriate” time. The
package insert indicates 1 to 15 days is an appropriate time. Exhibit A at 6 (table
2).

       While Ms. Cottingham, as discussed above, argues that an evaluation of the
timing is not appropriate in the context of determining whether reasonable basis
supports the claims set forth in the petition, see Pet’r’s Br. at 10, Ms. Cottingham
also argues that the appropriate onset extends to 5.47 months. Id. at 12 n.1 (citing
exhibit 13 (Kinoshita) at 2); see also Tr. 84-85.

       Ms. Cottingham’s reliance on the Kinoshita article seems unclear. At one
point, Ms. Cottingham maintained that the set of medical articles were being
offered for the limited purpose of showing that other people have reported
experiencing symptoms similar to the symptoms that Ms. Cottingham experienced
after the HPV vaccine. Tr. 48. Yet, Ms. Cottingham also offered the Kinoshita
article to serve as a reliable indicator for the appropriate interval between
vaccination and onset. Tr. 52.

        Ms. Cottingham, as the proponent of the evidence and as the party with the
burden of proof regarding reasonable basis, McKellar v. Sec’y of Health & Human
Servs., 101 Fed. Cl. 297, 305 (2011), has not established that the Kinoshita article
is a reliable source of information for the appropriate interval between vaccination
and onset. Ms. Cottingham may legitimately point to publication in a journal that



       18
          The clinical trial appears not to have considered the number of women who did not
receive a vaccination and had a headache.
       19
           The manufacturer also reported “headaches” as an “adverse experience”
“spontaneously reported during post-approval use of GARDASIL.” Exhibit A at 9 (section 6.2).
But, for the reasons discussed above, statements in the post-marketing section carry much less, if
any, weight regarding causation.

                                                   53
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 54 of 71




subjects manuscripts to peer review before publication. 20 However, peer review is
not dispositive about reliability. Daubert v. United States, 509 U.S. 579, 593-94
(1993) (“The fact of publication (or lack thereof) in a peer reviewed journal thus
will be relevant, though not dispositive, consideration in assessing the scientific
validity of a particular technique or methodology on which an opinion is
premised.”); see also Terran v. Sec’y of Health & Human Servs., 41 Fed. Cl. 330,
336 (1998) (highlighting the usefulness of the Daubert standards in evaluating
reliability of scientific evidence in Vaccine Program cases), aff’d, 195 F.3d 1302,
1316 (Fed. Cir. 1999).

       A problem with assigning the Kinoshita article more than a scintilla of
weight as to the appropriate temporal interval is the methodology of the Kinoshita
researchers. In essence, the Kinoshita article is a series of (forty) case reports.
Isolated case reports are the weakest type of evidence regarding causation,
meriting little, if any, weight. See Porter v. Sec’y of Health & Human Servs., 663
F.3d 1242, 1254 (Fed. Cir. 2011) (stating the “special master’s decision reveals a
thorough and careful evaluation of all of the evidence, including . . . reports and
medical literature”).

        Kinoshita’s suggestion that the HPV vaccine might cause symptoms that
first appear, on average, approximately five months after vaccination is also not
consistent with the undersigned’s experience as a special master. Setting aside
cases in which petitioners appear pro se, petitioners do not typically file petitions
in which the latency between vaccination and onset of symptoms is as long as the
interval asserted here. When asked during oral argument whether any cases
supported an interval of more than four months, Ms. Cottingham’s attorney stated
that he did not perform that research. Tr. 93. Thus, Ms. Cottingham cannot rely
upon any analogous cases.

      In the context of determining entitlement, special masters have rejected the
time Ms. Cottingham proposes. See, e.g., Phillips v. Sec’y of Health & Human
Servs., No. 16-906V, 2020 WL 7767511, at *30 (Fed. Cl. Spec. Mstr. Nov. 23,
2020) (finding a sixteen-week onset in an HPV-ITP case medically not
appropriate); Caron v. Sec’y of Health & Human Servs., No. 15-777V, 2017 WL
4349189, at *10 (Fed. Cl. Spec. Mstr. Sep. 7, 2017) (rejecting five-month interval


       20
           The publisher’s website describes the Journal of Internal Medicine as peer-reviewed.
https://onlinelibrary.wiley.com/journal/13652796?tabActivePane=

                                                   54
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 55 of 71




in context of multiple vaccines and the onset of a form of osteomyelits), mot. for
rev. denied, 136 Fed. Cl. 360, 389-90 (2018). In fact, special masters tend to draw
a line at a two-month onset. See Conte v. Sec’y of Health & Human Servs., No.
17-403V, 2020 WL 5743696, at *26 (Fed. Cl. Spec. Mstr. July 27, 2020) (rejecting
a twelve-week onset in a flu-CIDP case and remarking that eight weeks appears to
be the maximum onset time frame deemed reasonable in the Vaccine Program);
Pearson v. Sec’y of Health & Human Servs., No. 16-9V, 2019 WL 3852633, at
*16 (Fed. Cl. Spec. Mstr. July 31, 2019) (finding, in a flu-TM case, that a “74-day
onset period is medically and scientifically unacceptable”) (citing cases); Kamppi
v. Sec’y of Health & Human Servs., No. 15-1013V, 2019 WL 5483161, at *11
(Fed. Cl. Spec. Mstr. July 24, 2019) (stating that “[s]pecial masters in the Program
have not awarded compensation when onset occurs more than two months after
vaccination” in flu-GBS cases) (citing cases); Harrington v. Sec’y of Health &
Human Servs., No. 14-43V, 2018 WL 4401976, at *35 (Fed. Cl. Spec. Mstr. Aug.
14, 2018) (rejecting, in the alternative, a two-month onset in a claim involving the
HPV vaccine); Koehn v. Sec’y of Health & Human Servs., No. 11-355V, 2013 WL
3214877, at *28 (Fed. Cl. Spec. Mstr. May 30, 2013) (rejecting two-month onset in
claim involving HPV vaccine), mot. for rev. denied sub. nom., C.K. v. Sec’y of
Health & Human Servs., 113 Fed. Cl. 757 (2013), aff’d, 773 F.3d 1239 (Fed. Cir.
2014). Onset of neurologic conditions more than roughly two months after a swine
flu vaccination also contributed to rejection of claims in the swine flu
compensation program. See, e.g., Kenneda v. United States, 815 F. Supp. 926, 932
(S.D.W. Va. 1993) (rejecting an onset time frame between 2-3 months in a case
involving the swine flu vaccination); Benedict v. United States, 785 F. Supp 97, 99
(N.D. Ohio 1991) (same). In some instances, special masters have also rejected
time frames shorter than two months. See, e.g., Greene v. Sec’y of Health &
Human Servs., 146 Fed. Cl. 655, 667-68 (2020) (affirming the special master’s
finding that a 41-day onset was “medically unreasonable” in a tetanus-diphtheria
vaccine-brachial neuritis case), aff’d, No. 2020-1544, 2020 WL 7689786 (Fed. Cir.
Dec. 28, 2020).

       Although those cases addressed timing in the context of determining
entitlement, special masters have considered the latency between the vaccination
and the onset of symptoms in determining whether reasonable basis supports the
claims set forth in the petition. See Kamppi v. Sec’y of Health & Human Servs.,
No. 15-1013V, 2020 WL 7767513, at *11-12 (Fed. Cl. Spec. Mstr. Nov. 6, 2020)
(finding no reasonable basis); Harding v. Sec’y of Health & Human Servs., No. 17-
1580V, 2019 WL 3215974, at *7 (Fed. Cl. Spec. Mstr. June 18, 2019) (finding
reasonable basis because the petitioner’s autoimmune disease worsened within 30
                                            55
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 56 of 71




days of receiving a vaccine), mot. for rev. denied, 146 Fed. Cl. 381 (2019); Carter
v. Sec’y of Health & Human Servs., No. 16-852V, 2018 WL 6322447, at *9 (Fed.
Cl. Spec. Mstr. Oct. 16, 2018) (finding no reasonable basis because, in part, of the
10-month delay between childhood vaccinations and the onset of developmental
delay).

      Ms. Cottingham contends other cases do not inform whether there was a
reasonable basis for her (implicit) claim that a medically appropriate interval
between an HPV vaccination and the onset of headaches extends to four months.
See Pet’r’s Br. at 10-12; Tr. 93. Those other cases are distinguishable because they
involve different vaccines allegedly causing different illnesses.

       Ms. Cottingham’s distinction is a fair point. However, Ms. Cottingham has
not identified any case involving any vaccine-injury combination remotely
resembling her claim that a latency of more than four months is appropriate. The
deviation from the norm present in Ms. Cottingham’s case, combined with the
relatively commonplace nature of headaches (for example, Ms. Cottingham
experienced headaches before she received the HPV vaccination, see exhibit 3 at
55-56 (Mar. 6, 2012)), would seem to heighten the need for a qualified person to
explain why a four-month latency is reasonable.

      Finally, if Ms. Cottingham had presented some reliable evidence that four
months is a reasonable latency, Ms. Cottingham’s next step as part of a showing of
causation in the entitlement phase would be to show “a logical sequence of cause
and effect” (Althen prong 2). For the reasons discussed above, Ms. Cottingham’s
burden of proof at the “more than mere scintilla” standard includes an obligation to
present some reliable evidence regarding Althen prong two.

      For prong two, probative evidence can come from treating doctors.
Capizzano v. Sec’y of Health & Human Servs., 440 F.3d 1317, 1326 (Fed. Cir.
2006). The two doctors who treated Ms. Cottingham when she complained about
headaches attributed the headaches to infections. Exhibit 3 at 87-88 (Nov. 30,
2012), 78 (Jan. 31, 2013). Thus, for Ms. Cottingham’s claim that the HPV
vaccination caused her headache, the evaluations from the treating doctors cut
against a finding of reasonable basis.




                                            56
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 57 of 71




       C.     Fainting

       Ms. Cottingham next alleges that the July 5, 2012 HPV vaccination caused
her to suffer fainting episodes on March 29, 2013 and May 23, 2013. Pet. ¶¶ 6-7.
The objective support for this claim is even weaker than the meager support for the
claim that the HPV vaccination caused her to suffer headaches due to the longer
latency between the vaccination and the fainting episodes as well as the presence
of an alternative cause.

        The two reported incidents of fainting occurred approximately eight months
and approximately ten months after the vaccination. Eight and ten months is much
longer than the time listed on the product insert. The HPV vaccine’s manufacturer
warned that vaccine-recipients should be observed for “15 minutes” because
syncope might develop. Exhibit A at 3 (section 5.1). The manufacturer did not
report syncope in association with the results of clinical trials. Id. at 4-9 (section
6.1).21

      In oral argument, Ms. Cottingham attempted to distinguish what the
manufacturer reported on the product insert from what she experienced. This
attempt was largely unsuccessful. Ms. Cottingham stated that the manufacturer
was reporting a type of syncope known as “vasovagal syncope.” Tr. 19. The
evidentiary basis for this assertion is not readily apparent as the product insert uses
neither “vaso” nor “vagal.”

       Ms. Cottingham’s attempted distinction asserts that the syncope she
experienced approximately eight and approximately ten months later was a type of
syncope known as “postural” syncope. Tr. 19. The “postural” nature of Ms.
Cottingham derives, in her view, from the reports in medical records that the
syncope is associated with standing and alleviated on sitting. Id.; see also exhibit 3
at 70-71, 80-81, 111. However, Ms. Cottingham informed the cardiologist who
treated her about the context in which syncope and near-syncopal episodes
occurred. Even with this information, the cardiologist diagnosed her as suffering
from vasovagal syncope. Exhibit 3 at 112. While during oral argument Ms.
Cottingham dismissed this diagnosis as not supported, Tr. 79-80, Ms. Cottingham
has not cited any evidence from a medical professional (as opposed to her


       21
        Syncope is included as part of the post-marketing experience. Id. at 9 (section 6.2).
However, no time frame is listed.

                                                  57
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 58 of 71




attorney’s argument) that the syncope she suffered approximately eight and
approximately ten months after vaccination was postural.

       Even if a medical professional had classified Ms. Cottingham’s fainting
episodes as “postural,” the latency between the HPV vaccination and the earliest
fainting episode is long. In Brinth, the “mean delay between vaccination and onset
of symptoms was 9.3 days (range: 0-30).” Exhibit 12 at 2603. In Blitshteyn, the
longest onset between vaccination and the onset of symptoms was two months.
Exhibit 14 at 136 (table 1: patient 2). Two months is approximately six months
faster than the onset of Ms. Cottingham’s first fainting episode. Even two months
is a long latency between vaccination and syncope. When the onset of a seizure
was eight weeks after vaccination, Dr. Blitshteyn declined to provide an opinion in
support of causation. Leonard v. Sec’y of Health & Human Servs., No. 13-668V,
2014 WL 1324596 (Fed. Cl. Spec. Mstr. March 13, 2014). Similarly, a special
master was not arbitrary in crediting the opinion of a cardiologist the Secretary had
retained who opined that “‘10 to 12 hours between vaccination and syncope is too
long for there to be a causative relationship.’” Hopkins v. Sec’y of Health &
Human Servs., 62 Fed. Cl. 333, 335 (2004) (denying motion for review).

       Delays of approximately eight and approximately ten months are well
outside patterns commonly presented in Vaccine Program petitions. This latency
is a primary reason for finding that Ms. Cottingham’s claim that the HPV
vaccination caused her fainting episodes lacks reasonable basis.

       The other primary reason for finding that Ms. Cottingham’s claim that the
HPV vaccine caused her to suffer syncopal episodes is that on both occasions the
doctor who treated Ms. Cottingham proposed causes other than the HPV vaccine.
Specifically, on March 29, 2013, the doctor assessed Ms. Cottingham as suffering
from “gastroenteritis” and “dehydration.” Exhibit 3 at 81. Similarly, on May 23,
2013, the doctor stated that Ms. Cottingham suffered from dehydration and noted
that she did not eat or drink that morning. Id. at 70. These statements from
treating doctors constitute “objective evidence,” weighing against a finding that
Ms. Cottingham possessed a reasonable basis to assert that the HPV vaccine
caused her syncopal episodes.

       To be sure, a treating doctor’s assessment is just one factor and special
masters must consider the record as a whole as well as the totality of circumstances
in determining whether objective evidence supports finding a reasonable basis for
claims set forth in a petition. Thus, a treating doctor’s indication that something
other than the vaccine caused an injury merits some consideration. Likewise, a
                                               58
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 59 of 71




treating doctor’s statement that a vaccine caused some injury also carries value.
But, neither negative nor affirmative statements resolve the issue by themselves.

       Here, Ms. Cottingham has not identified any objective evidence suggesting
that the diagnostic conclusions Ms. Cottingham’s doctors reached on March 29,
2013, and May 23, 2013, were erroneous. Indeed, when Ms. Cottingham saw a
cardiologist for the purpose of exploring the reasons for her syncope, the
cardiologist seemed to endorse the previous diagnoses as the cardiologist also
“emphasized aggressive fluid hydration.” Exhibit 3 at 112.

       D.     Menstrual Difficulties

      From the group of conditions for which Ms. Cottingham has a diagnosis
from a treating doctor, the remaining problem is menstrual difficulties. Ms.
Cottingham’s petition alleges that the HPV vaccine caused her to suffer menstrual
problems in the “latter part of 2013.” Pet. ¶ 9. For this assertion, the petition cites
Ms. Cottingham’s affidavit, exhibit 1.

       The medical records are not consistent with the affidavit’s assertion as to
when Ms. Cottingham experienced menstrual difficulties. Ms. Cottingham has not
identified any medical records showing menstrual difficulties in the latter part of
2013.22 On August 18, 2014, Ms. Cottingham’s pediatrician noted that she had her
last menstruation on July 25, 2014. Exhibit 3 at 109. This record does not suggest
that Ms. Cottingham experienced any menstruation problems close in time to that
appointment.

       Instead, Ms. Cottingham’s medical records indicate that she had a menstrual
period in December 2014, but did not have one in January 2015. Exhibit 7 at 7.
After a doctor prescribed oral contraceptives on April 28, 2015, id. at 9, Ms.
Cottingham seemed to return to a “regular” menstrual cycle with the help of oral




       22
           The discrepancy between the affidavit and the medical records might be explained by
the chronology of when Mr. Downing received medical records. Mr. Downing’s timesheets
show that a paralegal (RWC) received some records from the University of Alabama-
Birmingham Department of Obstetrics and Gynecology on August 4, 2015. After additional
inquiries, this same paralegal received additional records on December 15, 2015. Ms.
Cottingham signed her affidavit on October 28, 2015. Exhibit 1.

                                                  59
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 60 of 71




contraceptives by July 8, 2015. Id. at 11-13 (stating that Ms. Cottingham was
“currently using [a contraceptive] for cycle control . . . and is cycling regularly”).

       The support for the proposition that the HPV vaccination can cause
menstrual difficulties rests on potentially unreliable evidence. The manufacturer’s
product insert does not list any problems with menstrual difficulties either
following clinical trials or in the post-marketing experience. See exhibit A.
Similarly, the articles from the United States and Denmark do not report recipients
of the HPV vaccine began to experience menstrual problems after the vaccination.
See exhibit 14 (Blitshteyn), exhibit 12 (Brinth). 23

       On the other hand, the two sequential reports from Japan do report menstrual
problems after the HPV vaccination. In the earlier study, Kinoshita and colleagues
stated that 35 percent (14 out of 44 women) had “disturbed menstruation.” Exhibit
13 at 2. In the follow-up study, Ozawa and colleagues found that nearly 50 percent
of the 72 participants suffered menstrual abnormalities. Exhibit 15 at 5 (table 2).
Ozawa and colleagues listed menstrual abnormalities among their unverified
diagnostic criteria. Id. at 4 (table 1). Neither Kinoshita nor Ozawa report any
information about the latency between the HPV vaccination and the beginning of
menstrual problems specifically.

      In Ms. Cottingham’s case, the amount of time between her July 5, 2012
HPV vaccination and the onset of menstrual difficulties around January 2015 is
approximately two and a half years. It is difficult to fathom how the July 5, 2012
HPV vaccine can cause a problem that started more than two years later. This
temporal relationship is quite possibly the longest temporal interval proposed in
any case in which an attorney represented a petitioner in the undersigned’s tenure.
The undersigned is not aware of any credible medical theory, offered in any
circumstance, that might come close to explaining how the latency could extend to
30 months.

       To be fair, the October 30, 2015 petition does not allege that the July 5, 2012
HPV vaccination caused menstrual difficulties beginning in January 2015. The
petition actually alleges that the menstrual difficulties began near the end of 2013.

       23
          Based upon the questionnaires the participants answered, the Brinth researchers
reported that before the vaccination, all participants either used oral contraceptives or had
irregular periods. Exhibit 12 at 2604. The Brinth group did not report any aggravation of
menstrual problems.

                                                    60
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 61 of 71




Pet. ¶ 9. If this assertion were accurate, then the latency between the July 5, 2012
HPV vaccination and the onset of menstrual difficulties (assumed to be November
15, 2013) would be still be approximately 16 months. While 16 months is
obviously shorter than 30 months, 16 months remains far beyond the temporal
interval any special master has recognized.

       Finally, to extend an extra benefit to Ms. Cottingham, it might be assumed
that after Ms. Cottingham’s attorney obtained additional records from the
gynecologist around December 15, 2015, Ms. Cottingham might have amended her
petition to allege that the second (not first) dose of the HPV vaccine caused her
menstrual difficulties.24 The second dose of the HPV vaccine was administered to
Ms. Cottingham on August 18, 2014. Exhibit 3 at 109-10. If it is assumed that
Ms. Cottingham’s menstrual difficulties began on January 1, 2015, then the latency
is approximately 4.5 months.

       An interval of approximately 4.5 months is outside the scope of intervals
that special masters have credited for reasons explained above in the context of
Ms. Cottingham’s claim that the first dose of the HPV vaccine caused her
headaches. While a latency of 4.5 months falls within the range Kinoshita
reported, the Kinoshita methodology is suspect and has not been defended by any
witness in this case. Consequently, for an array of different intervals, Ms.
Cottingham has not met her burden of establishing the reasonable basis for alleging
her menstrual difficulties arose in a time for which an inference of causation is
appropriate.

        Beyond the temporal problem (Althen prong 3) and the general causation
issue (Althen prong 1), Ms. Cottingham’s claim regarding menstrual difficulties
also suffers from a lack of evidence on specific causation (Althen prong 2). As
discussed above, Ms. Cottingham has not presented a report from an expert
opining that a dose of the HPV vaccine caused Ms. Cottingham’s menstrual
difficulties. Ms. Cottingham also has not identified any treating doctor who
presented such an opinion in a medical report. The closest evidence on this point
is that Ms. Cottingham’s mother informed the pediatrician that she (Ms.
Cottingham’s mother) was “concerned” that the HPV vaccination caused changes



       24
         Ms. Cottingham did not amend her petition before filing a motion to dismiss on
October 6, 2016.

                                                 61
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 62 of 71




in Ms. Cottingham’s menstrual cycle. Exhibit 3 at 175. However, beyond this
note, the doctor did not endorse or otherwise comment upon this concern.

VI.   Additional Remarks

       For the reasons explained above, Ms. Cottingham has not met her burden of
establishing a reasonable basis for the claims set forth in her petition. This
outcome is based on a consideration of the totality of the circumstances, but turns
on two points in particular.

       The first point is the question of law as to whether an analysis of reasonable
basis includes investigating whether a petitioner has presented “objective
evidence,” concerning the vaccinee’s case specifically. As discussed above, this
issue arises most prominently in Althen prong 2. Because the Vaccine Act
requires a finding of reasonable basis “for the claim for which the petition was
brought,” 42 U.S.C. § 300aa–15(e)(1), and because Ms. Cottingham’s petition
alleges that the vaccine harmed her, it seems natural that the reasonable basis
inquiry explores whether any evidence indicates that the vaccination harmed Ms.
Cottingham. However, the Federal Circuit did not address this question
specifically. Thus, the undersigned’s interpretation of the Vaccine Act may
ultimately be incorrect. If Ms. Cottingham’s case again reaches the Federal
Circuit, this case may allow the Federal Circuit to define the scope of the
reasonable basis inquiry, including whether a statement from a treating doctor or
retained expert is necessary to present more than a scintilla of evidence regarding
prong two. See Tr. 114.

       The second point underlying the outcome for Ms. Cottingham’s motion is
evidentiary. Evidence contributing to a finding that Ms. Cottingham did not
possess a reasonable basis for the claims set forth in her petition include: (1) the
lack of a report from an expert opining that the HPV vaccinations harmed Ms.
Cottingham, (2) the lack of a statement from a treating doctor suggesting the HPV
vaccinations harmed Ms. Cottingham, (3) the lack of diagnosis to support the
assertion of dysautonomia (meaning no unifying syndrome), (4) the presence of
alternative causes in the medical records (viral infections for the headaches and




                                             62
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 63 of 71




dehydration for the fainting), and (5) the long latency between the HPV
vaccination and the onset of different problems. 25

       The long latency weighs heavily. Among the claims set forth in the October
15, 2015 petition, the shortest latency is approximately four months. In the pages
above, the undersigned has attempted to set out why a four-month interval is an
unreasonably lengthy amount of time. See Pafford v. Sec’y of Health & Human
Servs., 451 F.3d 1352, 1358 (Fed. Cir. 2006) (stating, in the context of entitlement,
that “without some evidence of temporal linkage, the vaccination might receive
blame for events that occur weeks, months, or years outside of the time in which
scientific or epidemiologic evidence would expect the onset of harm”).

       The determination that a four-month interval undermines the argument that
Ms. Cottingham brought her petition with a reasonable basis is based, in turn, on
the undersigned’s experience. The experience of the presiding judicial officer
seems to be a factor useful in evaluating whether the claims in a petition were
supported by reasonable basis. See Highmark Inc. v. Allcare Health Mgmt. Sy,
Inc., 572 U.S. 559, 564 (2014) (interpreting a provision of the Patent Act, 35
U.S.C. § 285, authorizing attorneys’ fees in “exceptional cases” and stating that
district courts are “better positioned to determine whether a case is exceptional
because it lives with the case over a prolonged period of time”); Whitecotton v.
Sec’y of Health & Human Servs., 81 F.3d 1099, 1104 (Fed. Cir. 1996) (allowing
special masters to use their “accumulated expertise” in determining whether to find
entitlement to compensation); Saxton v. Sec’y of Health & Human Servs., 3 F.3d
1517, 1521 (Fed. Cir. 1993) (allowing special masters to use their experience in
determining the reasonableness of the amount of attorneys’ fees and costs); cf.
Silva v. Sec’y of Health & Human Servs., 108 Fed. Cl. 401 (2012) (reviewing a
finding of no reasonable basis under the broad abuse of discretion standard).
Based upon this experience, Ms. Cottingham’s claim that the HPV vaccine caused



       25
           In setting forth the factors that contribute most significantly to the finding that Ms.
Cottingham did not present sufficient evidence to satisfy the reasonable basis standard, the
undersigned also explains that the subjective belief of Ms. Cottingham or her attorney do not
constitute evidence. “We agree, as a general matter, that the extent of a party’s pre-suit
investigation or how fervently it believed in its allegations does not affect the objective strength
of that party’s litigating position.” Nova Chems. Corp. v. Dow Chem. Co., 856 F.3d 1012, 1018
(Fed. Cir. 2017) (affirming award of attorneys’ fees), cert. denied, 138 S. Ct. 485 (2017).

                                                    63
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 64 of 71




an injury that first appeared approximately four months after the vaccination is an
outlier.

       This case’s outlier status with respect to timing by itself does not mean that
the claim lacked a reasonable basis. In other words, the extremely lengthy interval
between the vaccination and the earliest onset of symptoms is not dispositive. For
example, Ms. Cottingham might have established the reasonable basis for the
claims set forth in her petition by presenting credible and objective evidence
explaining that a four-month interval is appropriate. But, here, even if Kinoshita
and Ozawa were worth more than a scintilla, they still do not rise to the level
supporting a reasonable basis.

       Nevertheless, the undersigned recognizes that appellate authorities might
reach different results on either the legal question or the evidentiary issue. See,
e.g., Adjustacam, LLC v. Newegg, Inc., 861 F.3d 1353 (Fed. Cir. 2017) (ruling
that district court abused its discretion in finding a patent case not exceptional).
Accordingly, to account for this potential outcome and to promote judicial
efficiency in any appellate process, the undersigned next determines a reasonable
amount of attorneys’ fees and costs to which Ms. Cottingham would be entitled.

VII. Reasonable Amount

       As Ms. Cottingham has litigated her eligibility for an award of attorneys’
fees and costs, the amount that Ms. Cottingham has requested has, naturally,
increased. On remand, she has submitted two different requests, which have
slightly different procedural postures as explained below.

                         October 14, 2020 Renewed Motion

       Her October 14, 2020 request seeks $78,016.00 in attorneys’ fees plus
$8,105.12 in attorneys’ costs, for a total request of $86,121.12. The most recent
entry in this request is October 12, 2020. Although the docket sheet sets a
response deadline of November 6, 2020, the Secretary did not file a response
directly in response to the October 14, 2020 motion and the Secretary did not
otherwise challenge the amount of compensation Ms. Cottingham is requesting.
See McIntosh v. Sec’y of Health & Human Servs., 139 Fed. Cl. 238 (2018)
(discussing Secretary’s practice of not addressing amounts requested in attorneys’
fees and costs).



                                             64
       Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 65 of 71




      A portion of this currently requested amount was evaluated previously. For
work performed before September 19, 2017, Ms. Cottingham was awarded
$32,909.36. This amount was derived from Ms. Cottingham’s October 26, 2016
motion as supplemented by her September 17, 2017 motion.

item               Pet’r’s mot. Pet’r’s supp’l       sum of     Second Fees
                      filed,      mot. filed      previous two   Decision,
                  Oct. 26, 2016 Sep. 17, 2017       columns     Dec. 12, 2017
attorneys' fees      $10,363.00   $20,182.50        $30,545.50    $30,045.50
costs                 $1,105.77     $1,758.09         $2,863.86    $2,863.86
total                $11,468.77   $21,940.59        $33,409.36    $32,909.36


The difference between the amount requested and the amount awarded ($500.00)
derives from a slightly high billing rate for Mr. Downing and a paralegal, Ms.
Avery, in his office.

       Ms. Cottingham did not challenge this deduction by filing a motion for
review. Instead, it appears that Ms. Cottingham accepted this amount. In her
Second Motion for Review, filed July 19, 2018, she requested that the Court award
$32,909.46. Later, as an alternative form of relief, Ms. Cottingham requested that
the Court remand for further proceedings to determine a reasonable amount of
attorneys’ fees and costs. Pet’r’s Reply, filed Aug. 27, 2018, at 7.

      Given Ms. Cottingham’s apparent acquiescence, the remaining analysis
begins on October 5, 2017, which is after the previous evaluation ended. Ms.
Cottingham’s case progressed, as described in the procedural history, through
various stages. The stages and the amounts requested are summarized in the
appendix.

       Ms. Cottingham’s request for attorneys’ fees and costs is analyzed pursuant
to the lodestar method in which a reasonable hourly rate is multiplied by a
reasonable number of hours. This computation yields the lodestar, which can be
adjusted upward or downward. Avera v. Sec’y of Health & Human Servs., 515
F.3d 1343, 1347-48 (Fed. Cir. 2008). Here, neither an upward nor downward
adjustment appears appropriate. Thus, the focus is determining a reasonable
number of hours and a reasonable hourly rate.



                                           65
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 66 of 71




      Reasonable hourly rate. As previously noted, the Second Fees Decision
found that Mr. Downing’s hourly rate was too high. Accordingly, when Mr.
Downing has invoiced at $375.00 per hour, an appropriate rate is $365.00 per hour.
See Bourche v. Sec’y of Health & Human Servs., No. 15-232V, 2017 WL
2480936, at *4 (Fed. Cl. Spec. Mstr. May 11, 2017) (finding $365 to be a
reasonable hourly rate for Mr. Downing’s work in 2017). From this foundation,
Mr. Downing’s proposal of an hourly rate of $385 for work in 2018 is also
unreasonable and a reasonable rate for 2018 is $375 per hour. Abbott v. Sec’y of
Health & Human Servs., No. 14-90V, 2019 WL 1856435, at *3 (Fed. Cl. Spec.
Mstr. Mar. 19, 2019) (citing Bourche v. Sec’y of Health & Human Servs., No. 15-
232V, 2018 WL 7046894, at *2 (Fed. Cl. Spec. Mstr. Dec. 19, 2018)). Mr.
Downing did not propose an increase from his 2018 rate for his work in 2019.
Because the proposed 2019 rate ($385 per hour) is a reasonable increase over the
previously determined 2018 rate ($375 per hour), the 2019 proposed rate is
reasonable. Pickens v. Sec’y of Health & Human Servs., No. 17-187V, 2019 WL
5260367, at *3 (Fed. Cl. Spec. Mstr. Sept. 20, 2019). Similarly, Mr. Downing
continues to propose $385.00 as his reasonable hourly rate for work in 2020. This
2020 rate is reasonable.

      The hourly rates of the paralegal, Ms. Avery, follow a similar analysis.
Through 2016, the proposed charge for Ms. Avery was $100 an hour but then in
2017, the paralegal rate increased to $135 per hour. This increase has been found
unreasonable. Abbott, 2019 WL 1856435, at *3 (“Mr. Downing has not provided
any reasoning why the paralegal’s rate would increase to $135 for 2017/2018.”).
Consequently, for 2017 and 2018, a reasonable hourly rate for Ms. Avery is $110
per hour. For 2019, a reasonable hourly rate is $120 per hour.

      The hourly rates for Mr. Downing’s associate, Courtney Van Cott, are
reasonable as proposed. No adjustment is required.

      Reasonable Number of Hours. After the September 17, 2017 supplemental
motion for attorneys’ fees and costs, the primary activity has been drafting briefs.

      With respect to the number of hours for a motion for review, the Court has
generally accepted the number of hours a petitioner’s attorney has billed. See
Scharfenberger v. Sec’y of Health & Human Servs., 124 Fed. Cl. 225, 235-36
(2015) (crediting approximately 77 hours for a motion for review); Doe/11 v.
Sec’y of Health & Human Servs., 89 Fed. Cl. 661, 667 (2009) (crediting
approximately 160 hours of work for two motions for review).

                                             66
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 67 of 71




     Here, Mr. Downing and colleagues have spent fewer hours on briefs than the
number of hours the Court credited in Scharfenberger and Doe/11. Thus, the
number of hours is accepted as reasonable.

       Nevertheless, the undersigned observes that the legal team spent
approximately 66 hours on drafting the Federal Circuit brief. (This figure does not
include time spent on other tasks such as preparing the joint appendix or traveling
for oral argument.) Sixty-six hours is more than twice the amount of time spent in
drafting the third motion for review, which was approximately 26 hours. The
entries associated with writing the Federal Circuit brief provide little light as to
how this time was spent. For example, on April 24, 2019, Ms. Van Cott invoiced
5.6 hours for “Continue drafting Petitioner’s Motion for Review to the Federal
Circuit.” While the task of writing a legal brief (or decision) is necessarily
comprehensive, some specificity would seem possible. Was Ms. Van Cott
primarily writing the procedural history? The section regarding the medical
articles? The argument about the totality of circumstances?

      As previously stated, the number of hours is not reduced, but the hourly rates
for Mr. Downing and Ms. Avery are changed. The resulting calculation decreases
the amount of attorneys’ fees incurred after September 17, 2017, by $443.50.

      Costs. The costs are reasonable and adequately documented. Ms.
Cottingham is awarded $8,105.12 in attorneys’ costs.

      Sum. A reasonable amount of attorneys’ fees and costs for work performed
before October 12, 2020 is $85,177.62, consisting of $77,072.50 in attorneys’ fees
and $8,105.12 in attorneys’ costs.

                  January 4, 2021 Motion for Supplemental Fees

       After October 12, 2020, Ms. Cottingham’s attorneys continued to advance
the request for an award of attorneys’ fees and costs primarily by preparing a brief,
filed on November 19, 2020. Their efforts are reflected in a motion for
supplemental fees filed on January 4, 2021.

       Vaccine Rule 20(b)(1) allows the Secretary 14 days to respond to a motion
for attorneys’ fees and costs. As such, according to the docket, the Secretary’s
deadline is January 19, 2021.

       Normally, the undersigned would not assess a motion for attorneys’ fees
until after the Secretary has had an opportunity to object. However, Ms.
                                             67
      Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 68 of 71




Cottingham’s January 4, 2021 motion is unusual. The undersigned cannot wait
until after January 19, 2021, because the time for issuing a decision on remand
elapses before that date. See Order, issued Oct. 14, 2020; Vaccine Rule 28(b).
Furthermore, based upon the Secretary’s current practice of not offering
meaningful comments about the amount requested in attorneys’ fees and costs, see
McIntosh, 139 Fed. Cl. 238, a delay would be unlikely to change the outcome.
Finally, because the analysis of the reasonable amount of attorneys’ fees and costs
is conditioned on an appellate authority finding that reasonable basis supported the
claims set forth in Ms. Cottingham’s petition, the Secretary would appear to have
an opportunity to dispute the amounts awarded pursuant to Ms. Cottingham’s
January 4, 2021 motion in an appellate filing. For these reasons, the undersigned
has reviewed the January 4, 2021 motion. In the January 4, 2021 motion, Ms.
Cottingham has requested an additional $15,959.00 in attorneys’ fees and
$1,106.58 in costs. Both amounts are reasonable.

VIII. Conclusion

      Ms. Cottingham’s motion for an award of attorneys’ fees and costs was
remanded to correct the erroneous statement that she had submitted “no evidence”
in support of her argument that her unsuccessful October 30, 2015 petition was
supported by reasonable basis. Upon remand, the undersigned has re-reviewed all
evidence, including Ms. Cottingham’s medical records, the product insert, and the
medical articles.

       Considered collectively, this evidence does not rise to the level warranting a
finding of reasonable basis for the reasons explained above. Accordingly, based
on the totality of the circumstances, Ms. Cottingham has not met the predicate for
being eligible for any attorneys’ fees and costs. Her motion for attorneys’ fees and
costs is DENIED. Pursuant to Vaccine Rule 28.1(a), the Clerk’s Office is directed
to provide this decision to the assigned judge.

      IT IS SO ORDERED.

                                                    s/ Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




                                            68
          Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 69 of 71


                                   Entitlement                 Fees before Special Master     1st mot. for review
         Phase
       start date                    5/15/2015                         10/21/2016                  4/21/2017


                                                                                              begin drafting mot.
     starting event         conferring with new client          preparing motion for fees
                                                                                                  for review


       end date                     10/18/2016                          4/20/2017                  9/19/2017


                                                             reviewing SM's decision denying drafting supp'l app'n
     ending event          joint notice not to seek review
                                                                  mot. for reconsideration    for attorneys' fees


  total time requested                66.20                              41.40                       32.00
                                    $10,293.00                         $11,374.50                  $8,808.00
amount requested in fees


                           gathering evidence, drafting
                             petition, conferring with           fees motion, motion for        drafting mot. for
     primary tasks
                           potential experts, dismissing             reconsideration            review and reply
                                        case

                           The December 12, 2017 Decision found reasonable attorneys' fees through September
                                                     19, 2017 to be $32,909.36.
          Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 70 of 71


                             2d mot. for       3d mot. for review       Federal Circuit
         Phase
                               review
       start date             10/5/2017             6/1/2018                9/20/2018

                               reviewing       Review of remand
     starting event            CM/ECF          decision on motion    analysis of new opinion
                              notification         for review.

       end date               5/31/2018            8/28/2018                8/19/2020
                                            Receive and review
                           Review Court of
                                           Court's Order; memo
                           Federal Claim's                        Review the Decision of
     ending event                           to file re: dates and
                             5/31/2018                             the Federal Circuit.
                                            issues needed to be
                              Opinion.
                                                  addressed.
  total time requested          22.40                40.50                   98.40
                              $5,961.00            $11,807.50              $28,463.00
amount requested in fees


                           drafting response                          Federal Circuit brief,
                                              Pet'r's second motion
     primary tasks         to Secetary's mot.                            appendix, oral
                                              for review, reply brief
                               for review                                  argument
          Case 1:15-vv-01291-MCW Document 105 Filed 02/02/21 Page 71 of 71


                                    Fees again                 Supp Fees after
         Phase
                                                                  Remand
       start date                    8/21/2020                   10/17/2020
                                 Drafting work re:
                           supplemental motion for atty        Draft outline for
     starting event
                           fees; correspondence to clerk           motion
                                      re: same.
       end date                     10/13/2020                   12/14/2020


                            Drafting work re: renewed
                                                                  Attend oral
     ending event              motion for final fees;
                                                                  argument
                           preparation exhibits for filing


  total time requested                  3.40                        47.40
                                     $1,309.00                   $15, 959.00
amount requested in fees
                                                                  Briefing in
                                                             accordance with SM's
                                                               order for briefing
     primary tasks               Motions drafting
                                                                remand issues;
                                                               preparing for oral
                                                                   argument
